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                                        THE FLORIDA BAR
                                               651 EAST JEFFERSON STREET
JOHN F. llARKNESS, JR.                      TALLAHASSEE, FLORIDA 32399-2300                       .~.~ rF;~S?O) 56t-560o
  EXECUTIVE DIRECTOR                                                                              vIC['!jWW.FLABAR.ORG

                                                  August 26, 2015



         Mr. Gerrard D. Jones #503034 Lockdown J2105
         Santa Rosa Correctional Institution
         5850 East Milton Road
         Milton, FL 32583

         Re:      Ms. Kathleen Carol Hagan; RFA No.: 16-1716

        Dear Mr. Jones:

        Your inquiry concerning the above-referenced attorney has been referred to me for my review.

        Your submission to The Florida Bar pertains to a letter from Ms. Hagan, who is employed by the
        Attorney General's Office, warning you about the consequences you face if you do not
        voluntarily dismiss a case that her office has deemed has no merit. You disagree with the law she
        cites. The Florida Bar does not control the Attorney General's interpretation of the law pertaining
        to prisoner lawsuits or its interpretation of case law.

        After careful consideration, I conclude that the matters referenced in your inquiry do not
        constitute violations of the Rules of Professional Conduct, and accordingly, your inquiry does
        not fall within the purview of the grievance system framework. Consequently, I have closed our
        record in this matter. Please be advised that my action does not preclude you from consulting
        with private counsel, nor does it preclude you from exercising any legal remedy which may be
        available to you.

        Pursuant to the Bar's records retention schedule, the computer record and file will be disposed of
        one year from the date of closing.

        Sincerely,




        Maura Canter, Bar Counsel
        Attorney Consumer Assistance Program
        ACAP Hotline 866-352-0707
        cc:      Ms. Kathleen Carol Hagan
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 PART ONE See Pa e 1, PART ONE - Re uired Information. :
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 PART TWO See Pa el, PART TWO - Facts/Alie ations. : The s ecific thin or thin s I am com lainin about are:

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PART THREE (See Page I, PART THREE - Witnesses.) : The witnesses in su pport of my allegations are: [see attached
sheet).



PART FOUR (See Page 1, PART FOUR - Signature.): Under penalties ofperjury, I declare that the foregoing facts are
true, correct and complete.




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 - --- ___ _.kf~C'O-f 7_~1)                                ?/2._(_£0_"L !!/!/!"~(.6~_,[ __..("'~?~t£.Ct,/NL_C_oc:/rh~ ....1J/Ll:f____                                                         -
_____ _~?!.?!.~~~/\//f'7 __ k-:2 __..ret_~: s _ CZt£.."1.~E~IE.F                                                                              c;.v-Q._~E,,,c;Po/\/JL. ____
----~E:.        _.-.JC./9~6 ,P/}?/f..A !?/-/c/l/PJ_L.L4"-/l_(-';/7o/Z.7(7J. /J/--;/~J'/</f L tlBllSE   --._
__ ____ ___ ___ t?~ /I_ "?_('N"f?P_t <~--:.if~/f.~.12.~l!_ __ Zfe_/fo~(2_/C" { Uoijw J r171T1-/#11 fl,-[/). '
--~---------i --f_§>~~/t. TclJ __7?6/-'A!~..£,,,.YL._J-,L__A?..c(?1{ /A (?o,,,/J' c;,r ?,,,.-e /Io ,./ _..l//?/.',,C:____ ________ _
  ___ _ r_T_V{"_<;·:h·_( 2f.f'o.y _( :_:!:_.___t'l_/l./_o_-~~~//f 1.~~3£/'f.· __c._ z;j_~t:;::/?~~[_;:__:'!._~ h~-------
------     /?__r ~A//."o£_r:?_(_~? /~c-- E{!_J;~ /"'.r2_(£; J/\/J~Ecztu< o6/V6-4/Vi7 J;:~r·c:                  ___
_ _ ______ t'?TTq,q/Y'_~yj- _
                            d/;c:-:(j-;J/ DE/-'/<1~,77!!_c,.,~7__c~0:?.F/__~{:"£.. _C"£?£.PC..~07-~~t/./£____ _ _
                             -~~/~/-~,Y~ _<('~l'V"'!_?q~__ (f'-:f£"tf__ ~_V~rfJ"___q/."~/f: /J'o ,,./ JT_,.,,-p_£__£_~eifJ'€.__J--
___ ___                  __!}!-!~ o c 4               T/ yt:} _ /j'_'? _~¢.-,,c:-z_~~ '7./_£..~pt4t..                        lJ &
                                                                                                                                          7
                                                                                                                                              _1fcf°ll.f/l\jf_,,,¥/y />J_~j! /C/9 !:~C-'~[__
-------                  ~0""? ~{_/ WI !((./(~_i~/!/A/f ~pq_!JLti!°-1'.l~'/e/J/IOWcvP..r /:~O_:_r:?__~c;·J"7~~L (N'6- -
-- . ---- -· -           /J?/r ({~ (_~_dN~)C___q~_{J_c(f.f)/£.Ltr./P L~t:f{ L / --~~-!_'2_,yt['__@ (£~-£ - _'Z)/(j                                                                i   ---·--


         - _ _I 01       t:;'o_~J'(!_ / /f'/ -'-!'£ .J]J __{'~'-/()__ /176'__/ c; J.4':'L&____/1_QJ,a__U/:/c!-/"o/?. ~-1'_±<!c?~_t!Y!L/f(_~~
                         ()/.-. TOl'f!/fy             /"? ,      Uvl:;./\/.Jt//\/ Wl-fc..1 c,)A./J'P//Z.6-!) /;;fl /JI /}'r-./ro,./(~ /71' /(at)J'gr./                                    ---
- - - - - -- ---··          --- -· ---- ---· -·---·-             - -------·----- I - - -                                     ·---------·----·----

- -· - - --- - - -
                         k>   J"';>/J~?c frld_~
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                                                         ~· ;-- ../'-'f7r0? ;foJ>? 5/;?/'/ / o _W~_!_!_!_~c___~oCl/J
                                               ~./. -------------------- ·------ ---··----
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     - - ·-- --   ----- -
                         Z>/-2. J .?'o~/,/\/S'/..... ,.n;>C: • JcT J;pr~/? RoJ/r .J/-x;/·/.-- Tc.; /J-/46/?ZE!'J' /?&'
                             ----      --   -   ---    -- - · · - · · - - - -- - ,!- - ·-   · - - - - - - - --------·-----·-·--·--· - - - - - - · ·- - - - - - - - - - -       ----·----·--


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                                  -                                                                                                   ~)
                      ..=.                     /                   A/ L     '        \        7                       /                                                           ._;
                     ::/I                          /./Y.Yv/;/                 ::? ' _,              ;;y_9c:/ Jt/ r"'JhWV<2/VtY'W      11
                                                                                                                                                                                 ./O ....l.1 ~//'l1,
                      -                                      .                                                                                                                                               t
                      .Y~IL                     ./o 3J'h ?V/V/,1JJl<7V'J/_L ,,~.r2/.9/V~f/ 2-'c/ .t;g .J.L ~no;;; ,
                   .Y/// 1P
                          ·-
                                                   ,,, /Yl3J/?Sl~ 7a//_;;,;r;n/" <7/VoA 5'£ 5'2/6/ .J~/Vlk/ !
                                                                                      ~                                           -                                  I/                            ._ [
               .7JY&                                     (32/Y..7 k-L?tY.9..£/ 70d/"'.9w/                                                        7vJ/c:?...9w YP J?tV//"5'<? ,
                                                         .                                                                                                /
                 . 0/VA IJV/l IVc/.9(!                                    _j)/v/P_/07J/~.9..j,!//rJ /~/?t?_/ 'J':;7/V/./t:Yw/.F.:JJ/V/J'.../'t!/~ '.
     'f-v/'? ?(Z,:Y:Jl/7 lh·i]/V/V/?c///J/(J~J'/V1'7 /..fd/'.Pl.LS.51/J/V7: ~/-/.L.:Jfe,9_7,}                                                                     J/J/"'.-:7J /         '2'd _9/:G( :
                     L.f/V/O/.j)f/ .9--Y ~ .:7..:/~J' /V'°J'/ ~c/                                                                                J /VO/J J          J/ .7/J 1..L' /          /V/?c;/ r
                          I           ~v-0                       ../Vh'/>?        ?/.9..1_( v          w              O'/V            _/ tYij./            JJ       //"-•;t/.j).Y//         ·.:;:; ..)y ~
                              ,               -.,,G- -   IJ                                                                   /                                                                         I
                                          ~8                     (1.9LtY7'?..J / L 2/V ..f'Y 5JJl'w92/if//vO,J'Y3~                                                                             ..9..te I 'hi
                                          '(J9::uvb:£JU,,n..J~/./ .:To ;;'C/;:;i?/J-5?_./'' ..LJ'o&v 7/-/L ~ /-?c9' i
                                          •                                                                                                                                                                  I
                   ??&/ 0 ' j Ylt./// -/U/tYY I JV:?,r·v~J/                                                                                      Ye/ 7/rL                     :Jl/V/..f /.:1_/~o_y t
                                                                                  /                              -~           ~                                                                              I
                w02/y /V/VdV.J..9J;-                                       '?.L       ./.L?YOc:/_.:72/ ..,d'Y/V'/ 7c:// J J'/(/                                                   ;::J/V,,,-:L' / P-'M ;.
                NJ,.l/fa ...!J//-//                              /::/Y.LJ>            _/VCJJ/ <Ye/ (77o_L J'tY// /VY~b'/-/ ·.:;; ')>/ l·r;
              J,.i//,P/ (% /Vc'/w/7,)y' /Vr? /V0/_//V9/JfVOJ                                   (i,t.-1;7/v.?3)01YP'f £8'6/ '7 J' ')7 Z,~)
         I,                       /                                                                         /I                               .            /_                      •                      I
                          " / L 8/ ./P ..L ./t/ /VtY7JI X.n 7,¥ .17,.Y~ -9/~ ((-7) L 66/ / 'J'n Zh ~J
                          '
                                ,, J /vQ,_f'C/Yd <7.9Z I 1byu10/Ln..t l..l..I/\!_t,'-.:;/t7 J'.L .•.t/.J) /Ck 71/11                                                                                 J,}
                                                                      /
                    .7~//                 YYO/V,_7 (1//.°9J!d                                     J.l :JtY                /-'//l..LY.N/WI?;:?                        /c/Ycr- / "V/2/d.,
                     .5>/d d/Jo/l//l /(,//e~,_Jo6o/ .:/o J;;v J                                                                                               .9/J / 7/cJ'D/f1 (! /-t£//\'7
                    f/VJ/.7/~9tvd/                                         :7/-e_ Y.YO/Vh                                     o/ ().97..L/J/VY A??PY.5'7 ~---:
         _(V/U J_//'<Yw...!Y.:72(/                                           /,(/ ?6/.,.9#                       7 6/..£.faYW                            Y7o/O&"~ .7w A/'/y'7 1
                                                                                      /                                                                                       .
    .JV ?l//VJ J6/                                 ( t/Ct/2/.tJ 7./_y 7,;J.Q/Jt75>./_/ J'.L~./._Jl/ ~                                                           76//VhJ(_( /7.,/ / J j /\/OJ             t
                  .?.w <../'--1/ :/.JJ / & / //1 / ..7 ...s w ./'r.7 J/vr?1JV70 /// '2/..5'//Jt? v/Vt>/
          ~.:1 /.../ l..!/V3 (J.d/Y5'~ .?/' !..! Vd/....(J'/V/ t.v('/ v 0/Vty' J..! (Yhe'.7 J'tYIP / ;ytY/1                                                                                        9_/
                                      -                                     C7                          /                                  /-... . . ,   / ,I             /
    ..ry;vr<ltv.:??c/ ?-Y.JJ.9? hw                                           /~b::L3;y                      v:Y.L?t/                         :YY<7GVIJ//                      7Y57Jf O/•fb/
         J':7JJ.9J?2/a ,:JJ/v1Y/1Pr:9'5J /V,P.J'/'2/ef' ;9~~                                                                                      o-L .sJ.-?.J..:>V 4t./ .l/.L /p:/
                  .-f&'".:;;/"?/.Y...!/\(_.t- A ?7117.//~'tY7 /V'J                                               O/VJ/ _;.;:;" 2::£s J;le?                            ~ /V.:7'rz ~ v 7 -9 rz'.
                 '2/.9o/V/~/ OL Y..;Tb.7./' ~J'Pa'                                                           V../fa'b-'°J .J .::?.f !.:l.7 ;JJAc.v /VtY.5'-.7:/ ,
-             .1?..f _)7d)Y/V/7 /e;,ror? 7y                               ..L IY/7.L /VP _f"?/'/7.&//                                 r9         ?Yr?;/ _;lw -:!)/V//l:YJ /                   (JV)/f.L   ~ •z.1
"11..9.?.J?~!a7>?/T~-Y/"1-o#f(v2z/f -H..too<f :T/vQH&/77-zj}v P:£- .77/#,1'1./79J,?,w fat? ~
    .}J/V/./d/N./J//1/ y~/JY.:JY.Y.9<? /;_,,__., /'':!- :Y,;v~.17r;J.:;?~ ~~?/...lJ/Vr?../ '47/ Poe ~                                                                                                             ·
              7YJ /A Y£7                           .YW .5?JnJ'9&' 0.£                                _/.:/tJ-2S tY'fo;z                             Y.//~'YJ         .LY_/'           '~J2/Y/Vf/?//.f' :
     / d<2..! ~'1/ q o .o.:;/ ,/o .;?& .:9/V/ A                                           /       2/c/.:::/<?             1
                                                                                                                          ?.f YYk/J' !Y..f'P "iY IY..//ViY:f                                   ..L.Y7
                                                                                                                                                                                                    f;           '!I
                                                                                                                                                                                                         ~
         ·..r./iY'J/.:?.,9..JJ//V ·- jVO(?;J-}y.)~-lcf?f.?,w J 0'/7 y7(/';vY,//olOW I/ .:fJ/V/~.)/J.S ;
     n                                                                                                  ~                                                                                            ~
         · (7.-t. on fJ _; ,t:, ,g                  /W-1 IJ V/V/ w / 2/ ~f/                           cz          7 v /.:;ivJ//.7J p7.£7f;,/ / IY'/1x~;>J' /ft/                                     Mf
                          Case 3:18-cv-00155-MCR-MJF Document 77-5 Filed 03/09/20 Page 6 of 27
 ------·---------------                                                        7i} ____________ --·--
 ~~ -~~0;;;;~~~: 7;:~;;-_~:;=~~;Jt:~f~Z;ffaz                                                                            ______
     ; e7tY07;}'.Yt>P?7(iLY£-?.7_ri.V~ ("Yw/_L 3/u .:/o          .°4 6 '6 6 -.J
                                                                            :Y/V/.L / :J ,,.Jµo1sw11x31,.
 -----u().d       :1N/)/.J/,/~:f2777-C?_;:;-:..Y/'/Z7?.27M ~.T../Jyn-d;?y~-- 7?;/'/.J -7n4/- S177.:l; - - -
 --710J:1~Vo/C95'J/vhdJ,~ ~,;v~-v-p5y77·--,5-               ·_}'
                                                              - SP--/rl>'J'd'V-.1.9 .;?;jd/7 / JJ-rd/.~·-· --- ------ -
 --------- T8)T/-/5J/.:?-Z~(l,)                2/nru    ·7 /.L/V/J-
                                                                  ;z;·c;ro:z--:> //j - -:?/;zj_ 7-:»_r-:lo/i/~-----
                                                                       9                     ~
 ---------?,7°.7tY'~°6/o/V' 7-7-
                               /-~1-1'7i7J._
                                           J._                                                        ! -
                                             '.J':YJ5/77'- .:://- /vx_0_.Y_ r~9fa-/.{J/ ?/;;- 3~.(£f;b-                       ---
---.-~~///;?~./CJ 7/A_t J. ~//.L"O.L 3°£;s~/?b?~72/'<:? V-Y~tY -J:.tJ'o;?/J'-;5.f:!_ -
------ /YJ=-·:r?/v}7r7-<2 /i.? -7r!5'_2:d/V~/T /-/.:?_~#~- <:?_L_- JJ;i/:n.oJ__ ?~j/3r;.9.:/ ,--·· ------~--
           J/o .9..1a:ts ..Y/tL /V'f(ffa/?l..t:?V £ /16/ ·./ J·n · Z/7 h7?VwJ/.t7./V ..J
------z;71y7//1-, 3--v~»TB-- ?l. 7'.z--(51iu/Pv?7tY&t ~f~Ct')2y/?·oY.::io-:~-z;- 31?'./ I                             ·e; ------ -
                        ·------------- /17;.;i7J-:? J/'·-..7'7i0Pltfa#& -_y£? -·7 i///~5?(2"
      ..("-L~-:f---:>J7.ZZ          u/V£>°"7GJ;f2-70//-l:ZVYT.l~T77/tl -5'7!/vl.L /VO-:)- V 7/71?fr;
__L(i;{ p;.oor:J oT/T-7;y_; 7tYY<? J J                   "2/JJp~r;/v--7?cV&_r ~·~.»A ~..9/J    _I/_·_..___ _ __
---.-.:Two::>/~o -Yk! -:J7'1TC17'7 R/f7Z1 -iM.Io/'./ //;"i/tf//.7/ii;.7 /J - 971;·· -:4,p --;;;9/.,. o:J/     ;,y;;
              ----y-~1- v:7(!"2/o:fYy7./97<l -<?67//---:/'7.Yfi/2//P..Y -7h'//72vtYr,7/Vn -~----·-----
----·---·---:/r? - 7W77V.5XZ:,,.-;9Zv.o -;...,-_-1-
                                                  ~;zzz-?J;v;--x.:J7_y· C?;~8 ?&//J     j~- ·-----·- - - -
                                                                                                  !./-.;;;
                                       J                                        ~    -
 - - · - - · _././
               . -Y/!Vy-/-/'7~('/--7/71 -Yr:?-(--p~ -3 --'67_)
                                                             ___ - (/"'7 Pit?/vi<.J7vo!L3 ,;· ---- --------
                             "1~·         -               / ,,             v                                    I?'
~--~-=- -~~-----~J:-~:;:o~:,_;:;:;~~~~~~~~;~~~~~.%rzi--                                                                         -
- - -p::;;;/llV.AJ /f3;']1- 5'AILLYC(_/J'/fol/Wf7y /"·~J/C/d 3'/Vi'-/J/1tYflX.:.? ~..9../Y~;J'
---_72'!/7/.?.;F7~---~~--;JJ2- 7l~iJ/:JJ/.J_/_7 -o/-1/VJ--J;"Z/...9/Y~/ 2/d ~t?                  %6          '66 .
- - - - -o/>JJ/- /-;:;u //VI -:7277;117·-v ..1tY7:7o..J'.JZ? -:~:;--7J-o J7.S-:?7./-- ::;,r-;/ 7/__yj, - ~ ---- --- ·---
--(P>'J'oi/"Z/?-..r~.no/) ·9-N-7~J)-%7/ZZ--CJJVV' /.&<Z.- ;,;;---y17- fa.77/1-9~ ~ -------
---- -·--- J'R72Jli7(J7f727Z/- 07 J7._;;y/ J-- ·- 177_;~ 7d/..911/·--:.r~3?/y,L-/~- J tY/1_2~--------------
----- --· --- - -.;-yj(l:777V-~2] fa.~~~- -:5'?/~7-/ -/V?.7/.1v/V7 w&~J'--./& ---7;/.~-~0/l;,-·--                     - ----- ----
~. =-~---3;/;~                 :z:::;:::~-::;7:::;;;~.z;v;,;0~1;:;Yfl·9'=~:- -
-----   ---!7:xi~-Y:;F(/v/PZ!}772/7iL ·-yt,i - J/V/tli?7?/(?0o"j/~J//I!)                         J;-_9;.z7- r;j;- ·-- -- --
- --------- ______,,-iXJ32/97/(7-?v7">?77;;7 ~-oy:;~;; -·r;-.;;77_-y7/\lhi.i:_i sJ.-;z;-·· ..,..o,;~~b/] --- ----- ----
        ___ - /vo/Jn7 ;;µ;o:J ~-Y-7/.Z/- 7P- v~/172/d/f/ J'l//7 -/:iY;:JP/'1 ____5 _:.Y-- -:; - --------
                                                                                                            1
--------------- --- :i73?-Zi2/d'·- y:7/VY/JY;-~37_;y;;,/]'~J'X/v/Z,/(l}/_/ - /:,,-q:;;z;.d-- -- - - -- . -- -
- ----·· ----.7.lr.L- o/i/0 4 .9J> J :YJ' VJ-Yl-u 7b--~~-6--'66___h ____~;vz;n-J/.:J7 ·-----
--   -----~.x 177-~n..::/ fi;z,- --:;;g- -=:> "? /"/VF-:J::Y3,1-7;--'1v7.VLY"/ Y..t .__7 v/ ;;-:_fa./J/.2--o ;V~- -------
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            l
            'I
             1
                 /-JN'~ T;f,l\/G'//f,ef't-E t/Jc o/ 7?/c J/Y?,ftL /'/CJ."~C ~/f./C'7 J'7/r96'.r/O/'
            1                                                                                                           ~
                ///.5   ./"°/f/PJ/1_7 wot4L.fJ                 OTl/c/CW/.rt5 2Jc-~o.r/7                      f/\/       /l7c   ,::i/f:/./cJAI

            l(    ..z;./r>2-"PTc:}/PCccn-?'/t//· /"'o/f //c/Pt.?# /?/VO                             cc:i"'?/d.£.P fTc:r"l;;
            ,/1s 7/-/~            /""It./'/\/~ /Ct::.F/ Co..r1-:r 07~· .tV'cA?/?l'.y ~t/oo..                                &?J   lJvLLa£./'.
2/. ; &q-~                 7>/TT/,-VC           //~/£         /'Jr/f//J" c?/. h'/f'
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                                                                                                  L./17t-VJ'c>~/T /.4o/f//VJ/-
            il                                                                          #                                                         )
            . ?,//'¢ />Jc/< r ,r:.,r .o,A A /L/L( J TO/?'J/fJCr-/ (//t:)/Yc.11-//Co.r"?/"o/ZF frc·,,.,1.:;                              e fc,,.        -
           J1)/E        99. ?9799 /{I' t7~                        P/2../J'o--rV'6"/ZJ.      ~/tL       V6r./7w~£ <f'6YC/rl./{?
                                                                                                        /i/o/-
           I                                                                                        '"
            ,7716" T/e_/Y /)/ l?~t1//9L                       ''l'?J/Vl'/L>/Yr?t:.;'.F I/ /l( 710,~ W/~ LoJ~/ t'lf 2JRAW
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            '
2Z,         j /-/C7wc:-vc:-l{'.1   Jw ~ /."'t./£1'"/-/'C:Jf E.A/'o£ T' / i> ..FL/1/17 /176.
           ; C oL-1/fT/-/014.rc· !Joo~I To t//~ T2.//Pt.L7 ''a,,{/'/ Z>/f-2?./fJ'~ZJ
           ' /7/<lr/lJArr?~/J' /YC Tro.N./                 K1 c. /-/./fCAr/ /'/4 J' MK6iv' / r
           l t.,//ti'/\/ /--/C:i'e.J'cC./' To lJo /l?A'FJ- /??./V/~/NCJVo { 99, 9 % o,r)
                                                                      11




                ?.£ / Fo~c/CJ' Jc~K/.'\/'6- C04"£.T l />'J/Y/\/l),4//"Jt?J;) /?6"L/~,/.: ~/LP/'V)
                /?LL
        :Z>k!.J-) - (o.F re:-r./O- /d"'L y '1Wrr~A/lrvrJ/ b'l/ 7 ~~~u7.J ""ll:l/-7'""6/V T(:r///\/C ,,
           ' .J"/<//\/C. T;oA/J ll//\/'O~.r?_ /Z..?-/Z/£//V                      J74Tt/7;!.'       9'/'/. 279(/)_/'.f3-6~/. Jl'/L9-32J)
  ,,       ~ ,,C-o~ 71/C: P/C. / J'o/\/t!°l'(J                 v./)/o        t .J t't-l. /V(J   F { "1 / If'. C . 1-1/?tOf/I/} '1t//CC1NC ,rj
  •. .. ."'//cYLt~/'>/r/V~/ty               2'J/JY'?/r.r{7lt'c)C/lf'c~ •. A.v!J ..Z://.J/"(:;l1!J 4~ -·--*
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        , '7il--1T Wllt/,4/l? J' _v-7Z!c kEI'(.     87 So ..?ti 12.?o (!!T?'(A Zut'z) AN!) -:£4/'/DIA/~V-Co,../No~/
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        fS-1s-4'.J:           '171? (lff5} Ar/~ ('t/£/6;,yr- V-·/ll_2-J)c;do4'tr~ ff8 ..ro.2d 11:12 (/Jr#c4 2007 j
           ,,,
            /'foL/J/Altf'".,['" /.//<.C;; /l/,l}'F.,'

        :~·~"/I /!~/f'(J/.IC1 ...1Wd.v?c7£1) ~ ~ ~c~~ C-t:rn~
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        . c~..L-4'.-.&='?'                   ~ec.e_~ ~~¢@~E~,,cc,.re.o ~'f!/.Jh\1-1:-"?d). .. ,:
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2'f, l~ ll-1~/ZE/?.Tl~",f',/          Jl-t.f'F ?/C/o.<                To "717~-1'0-f.'/f'-'°ll ·~2 'Y #/c" i-6 T/C-/f/ ~ [ 11/l~,,.<J,,./
            f'z:yrcJ T/(...qr:·
       "'       77
        . .... /h'c ~c/M'/Z;-m,er..rr 1.1/ Ct1-'Z4c-CT/ol'/f 8/lJ 6"66r./ "7l-4k/r-/~ Tlf/J /1£{ft.//1"J6'•./F
       Fe/./(        ~V//-C' _:'o~€ ///l'J~_/}!_'!_~
                                ~ 4P~.sZ_-4_~ _ C~                    a.,d
       L~ c~~-'? ~~    t'Au~~ ·; = ·=---- .Z . · -- ~a/e_- 12<)
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       ~-- ~~:__&f_~-~~*~ ~~~-- ~-i~~ · · ····. -·                                                                                         . \v_~,
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                                                                                                               (J}_________________,______
    --_-__:=·y5:::J:~:::-~~);~;;,;;~~~;_L;:;~?:~~~~:;r-            /,                                   <                                       ,,


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    -----               -· fY~y        3,.t.&:'   -7,--YJl!Y.)f~O),/V/~o /;;J;v;o;;/.1~3,0-~-,Nb/!JP}l ') -,j) l-----                                                                                    ------
    ___ - - - - -/J-7/i?/VOJ' / ¥~- 7/(7/ --;?' ~- 7...:/(+ 0 00-~0 f?/)y)-L_/ -.7~J;y;)/J 0 ---0/-1M__,______ ---
    -----7"7J/./.-                        - -7>17.L- -
                 ~/- 'y';;o- 7'--·o"f7--s;d          IJL- 7;?:J/v;;o3 --7 tv~?7 -7 --~- ?/tv~~l~rL J;/ ro[~ - -~                                                                                         --
       ---                '.f'Jfr/Ool'/'?.51//J           ~/V/J07;?
                                                         -J:iho/;):Vno3- ..r,//~]Jvlj-• ./-,:Y- <?l             -
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    ---------- <l.Y.J:;j.]iCY/7J' 01J:;_J~/(! :l;yv of!;::;?J?/S'/Vo.;/f/<£ [t,,\?o.o                                                                    -roo/) 3'/-tL _.________
                              _LnO -/n/T'.f-~-/-..!73'n§-7J.7(?/:;-/-z;;-=_7)y/v/J> 7:,-?..f/'r/Z::,y:;;>:f- iY?/7' h..:..~ -                                                                 -- - ----
------- J'37.7Jr>'.il 7 ----_f~1 0"2/Y:NJ531- i/.?P1..fi - ~9--¥tYY --01no}/.I' ;-;./v})ty;/ · .-j ·>J- 71J 1/fft) - ------------
                       / "17d/J J'ISJ/£      -L J.9;J/J,-r?J      - Jlt:7/V- (JY?c;/7J?V72/7,c(Y/ Y../                                     {?/ Jo/V       J.'.T #./HJ                         '/:; l .
---------- ---------------------------------- -- ---- ---- - --                                             ·;v-vJ~/1 --:j -·)f'                     AU(J.?ja-;,;, ----- ------------
              -               "'7J/V/70:;;   /"'/.?.::? 7 -,3 /        rz7_z;-;;;:z:;;d_-=---;;·1~-v-.02/;:;,.:)-.YTTz;;::7d/~-.71i/ ..)~-!--------
     J;y •Jyo7 7wl.J-/-,/i()/,:YJ/'./7JPY J'h(J7ofi/~y YC/"6/ Jh~tY(l/Vtf/(,v 7?/Y'. -,.Lf/f/~i
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------            ,, ~
                     V.Y..                                                                         ·-~
                       ~..to1o(JY,, ~o ,, t??.i'~ 7./ffi/ .f:l.::Jt?n~-3.J'.91//-..!lY/(.!.,-/,b//J-1 4_
                                                                                                       Nf!/ _•
-------ji/]....L/V/ )-/ "7-:jyjOW,yj;-;/v:Jf/JJ -~_}/;,;h ~y- ~- --y;;-;J-:J5 /J-;;/;,, -~?'                                                                                          -r--------
--      ----;Z.,,.7?(//Vt/~oZ/yi;;-J.;y_yrz ~c;-7;.~y -(l~/J]J:J'--7//,Yl-/- J:l;j (; nL'(2 /n/"2,//") J_____ -- -----
--~)iffl77171?J~7:~!j;?_-!:_:~~~~~?--N_~7j--~O _!~~ _L_~~-- ~)~7:1Z~L?~ r~-9~~ ~~=                                                                                                                       _ _--
- -~J'71.1)fY'/ -.Y.>117--XVl-71-0~ "Jl/#WJ~erho_:;; r?.L fJ.::i/J.JtY /c:> f J/7.:Y/ &- ..9/--tL
                                                                             -- - - - ---------   ---   --·        -- -------         --   --        -   ----     -    -     - -   __ i _ _ _ _ _ _           .   -
---------------- ..:/-p--TJ-z/y~-:o// V(l"75')/_(I? 0/V.Y...) .:7w 7..f ,I//.;J/V/J/J/_y'/\/::7'..f'/ t?
---~-/lf7'Y:177-£ <?77i.?/#~--;,e9                                                          7 d/.3.9? 7.../~-fav
                                                                        _;::;--;;, / / t7;;;;--u /V_.t--r---- ------
                                                                  --c;-o/-/..!>1w
-       -                           ..15'J J b/I/                  .    Tf 5'~   '? J,t (   £ £ d792G7l717;J77/I {iVZi2J //VTw(J /;/-
- - - - - - - - ---------- - -- - - - ---Cf/.i~      -J ft_>b/7--fyµJJehj/JJ--:;::,.-_;j- 7LV'.frl/i?/././                                      YCJ/ ;y   t?-7.:T      =~h
----------------                    071?/-/c://J 0/       (lphglf-/.J;1V-:i;:v1Y/fi/~_;:;---s/?:P/7,; -1Y                                                  J'/Y   -ofab/                                 -----
    - - -- -- -----_7'2/?70.J Y'7(}7p~YJI /./(:; -;r;f;-L'b'.Y~/V)y j - 7::1-.S f:/ -'(-.;~:JC/Ii ":_j ~.¥ T 'l. i                                                                                        -- -
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                          q'S?:T/77P"(?,/
                                      -./'
                                           7?35"..9,o
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                                                                                 /V/:92/.9-A~ .9Jo,t-// ,.....,_,                                        I'~
----- ----~/\//.Ld3J ::k~- A-7~=7 of r-YJ'Y5 ,,?j/_9/7J> -h                                                                    yj;p;v_;v-:,7;_z7/ VYJ               -OfatY~-------------------
                         ,,                   .                         I/                                                ,,                                      'L                  I
                       ,,J/7~70/J- /2/..Y,,        (!.9iv_9y(?- /Y'/?N J>;yv J/.JO/.J.71/ .J~- z;V~/VV-4/ 71v ·~--- ---------
-    - - - - - --:0    ..! v777P,'77,-t//V/u/ -?t;o7 J          )7o;;J'?--wo~/_/./Y-9iJ/ J'<7;/o2/C). --' ;ijl/C·t Y7g_L___
                                -                                                                             ,,                                                                   ~,,,
=~=~~= 7~ JB9:"1/v!'W~1:tVJVO,u/v~~~7;;!;;;;; -~;;:;;/V.;)'~! --~
- -------- -.-.rJ#jJ/ £'-(<!5'-.;~n-:L/.F-~-f:?/v?/W./:f J'~~/v-1?7/~;/- ?/>1/IJ c?--~;v~ - x~                                                                             /.-9 ·- ------
                                                                                                        7
    --- ------;;25Y./J'7-::-~;v777/h/7,, ~O.LJ??;/wlj/Y_T ?~~~~~?fr_~~:::~~.l Y-3>.9/V--~,=--- -- - ~=
    ------                      .74tY'/;T O_L fZ.:?/V:fJ/J'.?(? Th7?&//"0 IJ/v'.7..L /":.,/                          7          <1/'Vf;;/ ~/V/<lt/_?7_r1                    w
--- ------------3J7 y y'-~ 7.Y.!h7oJ':9~J>J---/Vv.:5'~/i--;.7---;_~--~ g -:z;:;9;;;,7.Jv2:;-.- _/~111 r-~fz                                                                                      ___
                                                                                                                                                                             -..!.-
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                          31. k. c.                /-1/lltP/Y'N _{/VT61'VT/or-/A'LL.:;t /Y//.rcC:/Yl>J /'~/.Jo.../ d/iC/C//f't.r
                  ·------·-- -----4.-----·-·----· - - - - - - - - - - - . - - - - - - - - - · - - - - - - · - · · · - - · - - - - - - - - - - - - - · - - · - - · - - - - - - - - - - - · - - · - · · - · - - · - · - ---- - - - - -



                                      A .J Td l/'5~ /:/()vie~'' tc/J-/;c1-1 /l ZJ t/ICtf. /~/C //'o~./ o,.C;</c--//f?LJ
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 ····--·----------·-· 1tr.A/t:pwc-J'"1/o/1.11NCLY .C:-ry,ef'/1(/1CE
                                                    .        .   . y ------- ../,,C   t/71~/(.c!J .8y t:?olJ."
                                                                                - -- --·-·---··-·---------·-····-·-·       /rJ
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     -______ 3_2,(;;0!;c~:;~,!~::,,~.0~~6;~~;~ o;;i~;:;-:~~~hr___
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   --------~---·-!:_ 6'b A(__ c d ~~!)~--~lJ..£~~_ /t_lj7vc:___/1_L_1_P}_~!G..... /?:f..6:_/?.£C.~~6...r_ _____ _
                     J A/ frlc,./7/flt,- LIJ"C;t-..>~P (A// IH 71/<(; l//c·w.r o,,C le. c. //AtfAf;-/
 - ----- -----·-----·-·-·-- - - - - - - - - -· - - · - - · · · - - - - - - - - - - - - - - · - - - - - - - - - - - - - - - · · - · - - - - · - - - - - -----· ;I - - - - - - - - - - - -

                    ~ ,a't~7· 7l//IF \.f'o.f'??t=/fc,r.J- '- -77/(!'
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                                                                                           Lc-·o,../ Co'f?N'"Ty JW/.JCcJ"''/-//lV((N.;.
                                                                                 - - - - - - - - - - - - - - - -,;----------;;;;-                      - . - --        -- 1'/-      - -
 ____________ · 6'o_T(C::N' 6£.ol/N'/) _ ~tJ_ 7_/\/,,Co/C.r;>/NC"' //-/~{!~t:'J OoC>                                                                                              :_)/j-e /.fb,1v '6 /U',__ ____
- - - 3 ~· - /JJ CJ&E_q~¢-"~-7lt€_?'/y'__,['E_J c_( T £S..Z>_ fi z-_ _k· I C_J-1~ (f'_~_ (f'_;f_~_-- - - - -

  ___ _
- ___ _ _ ___ N~.T /?..£ _(l/2.~/f,. ::_ _("_yL _&£_JJ_,z£__7'!_q_:[..[[F / il("~ __!~_-f€";.A.f _ __
     --~r· 6/_£1 J!'i~/C_O,,C~_!!_-(~_ _£:._?J'~f {(_!'E_S ANy ,____L.~~£f/L?£€..,~.:1'~I~£V~l'f~,.---
______ _ -z:_C!___Z"~~ E~~.f"cr__t!-(:/fz:___~_':__c;. /..//f!t:'/J'~':!_Z!~,eJ!?_q~_r_~t. /2-t.c-ry__~_q_/_~6;_._ ____ _
                          3'1, /il>IJ1T1c;.vl'('ll..~                             Z,.-.1                  W/C./{;/J'T         //7~ LEo/\/ <"t?l/.NT.7 VL/iJtrE-·


-==~· -.-J~i~~~i::;~!~~~J~;~~~~~;;;~/9~~:~=-··----~-
_______                   ---r~".1-~~- &ry_y              _                 /"?(f"~z_1_{1. '.'{'_ ? ,.c
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  --==- 3:-~1~::~~~-;~Ct';;;~_        ; ;;~~~tt~~~~;;=~~;;::~;~-:::=-
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__ __ __          '4//C_! ;:j_ c:'.!-!
                            _ '7?-(/fL .                      _________
                                                                  C/-1                                                                                                                        _. ~4-
----·-----·---·1 ~~~~~M_-~- ~~ -~--~ ~~~~-~-)?~__:!____
·----------- _____ &_/Y2J1 _ t:(~t2!V..Z:.~~-r _?.~c.f2~J'€/--P!f:. Z?~---<-e:f2_ //~_(_£<7_":'! .!?_&"/C(.a.?.!'" _____ _

---- -Jd~g/:;:;::.;-7~b'1:/1"'!~;!~/l~;~~"/!/;'!b~:~d7;,~5;C:;;",qw~m,c -
--------------                    ,-·------ -· ----··-) -·--·------·-                    ······-·-- ...    -· ..... ··7 ------- --·---·-····       - --·----· - - - - -----· ...... - -·-·-···--· ---·----·- - -

-----------'-~~€~I T£1?JC'_N(__/f_f/_~/itE_~~_;_ .
---- --f'._._              ___
                                                WilU,-r,.?f ,,Cr;/L<;l) To lJC:ryc..VfD{.qTC:
                                J/>JL:L/C~Tl_N'__tL /7:;16 !'_~~!:~~T~~ ~£..Z?f.~~t[fa~f.~£f_ C.L_t_V_!:/JC.:._·_·· -· ~
                                                                                                                                                     ----- -------· - - - --· - -----
                                                                                                                                                      ~· L/<f'6:_4>' JN76'£.t"C'[_~

··-    --    -·       -   ----·- - --- --
                                                 T,.l/~ tdll[//?/YJJ'
                                JA/ S'/--/Cl/(7 ---·-      -
                                                           -·   :,) -
                                                                      0/0//\//ol\/   .
                                                                                       lJ6°r?Ci/l/f//eAT<f".F 7//aT
                                                                            ·------··-·-------·------·-----·--·--····· -·---- ··-·--- --
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                           -   ()(:~-- ~~~~!' l'//_()_!1/t/_!:_ _~- ~--~~/~- ~ -------                                                                                                                                  - ------
___                       - ---~-:"IJ".~!'-'/<:': ~tJ i'JA'.'il:-!.-v'Co~£IA/_~ft?£.YT "~                                                        _
                       --- i~ ~ C:t!_-<Le..__,_Z}~c:_-~_p~~L .!:.E._9._~€~___(_ o___!:!/t~R-c£.~__ ffL'5:~~- - ~/J.;/'_____ _
 -          --- .
                            ('~ "/ f tJ/- /I /?'?UC, Tl n-1t)C 0/:) /)l~6
                     ----·- ~ -- .• - ., .. -------- ·----------------, c_~-- - - ·.- ~. ..
                                                                                            /7/Z. .°Cc
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                                                                                                        ..If'. ··-·-·
                                                                                                                 I/I OL/1 T;or.£/
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                    k?/VO /:/l'\//.)//\/tf} .ll/c7N"€" W'~/-/C'{ I} /)-/~LEO/\/ LO//NV'Ty Jl/1JC6J" 2>&>·///9L
--------· -- ·-··--1:·· -- . · / ..... -- - . . ·----- . . - /.-. -- ..........   . - .·-···-               -- . - ..                 --~----~:-:-- -·                                           --,~--·:····--
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      _ _____ _____ ((.T.;_I,-v ~~( l//V_rr; .r _(?_t_~ _ ( d__i:t_~r__ ,P(!J ~~!"__ 'lf..-1~ ''_!~_/.[_~ !Yt°_,(" _~("_ /?fi!~~A?_/}'!u'F_. __
-------1-----·-----_________                          ._(_7) _ __
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        t
.J7. li ...f'. ( ',   ,l/,A~,.fr/ OV6/GLtJtJkJ" /f l/~R,~                            d/fJJ'/ C        )D,,-e/N'C/,,,,t{:- v./H/C/-(

        ~ 7J/C! /"WA/ c Ti ,, J            0     Ci,,,<""    Uw?) I c /,/,/ i   .If'6 (/ / E (,.,/   ~r///y / t .r
        ~ /'f7,..,/0 TJ·/-rr .c:r
        I
                                                 70         fA?T/F/°.Y fT.Jc/r            .-0a       &"'1'r 7Y/C:-~[ ~-.r
        ! "" J'oJ-?~ Evfoc,,../C~- // ~/?T V/\/oE;e ~l'R.ar 7/7t: ,,t:/#t:>/.rVC
        ~. o,,.c      Ct4 /L     r/ 7)-l'ar ///~                    ZJ/f f f ~/VJ'C:-fJ               £.r/-7c;,#"/.
        ·~ Jwc4             /1   °Z)/.)l'°O.f/1/0 ,r/            ...r.r_.7(Ecpv/~6a           ,(ly W<f'l...L-EJ7/rl/.f'L/J/r6_:"{)
             fLl'//~c'r-7&. coif~ r              ?/C6"'cc.·oc-,vr/         .r. £ .1   J'l.ef/?C-.lfL/•../TENO~N'r- v- # / tL)
        j '-/72           t~ ,r. '1YS" {
                                   198S){'' /#c- ~ -P~~ ,fE([>c//~6-'!J R~tc-"'J•./
             Wot.F/.'-i/- /'-1£lJco./N61Y- '118 l,f_J, ..f" J9 (/f7'7"){ ~t./<£ ,O/Zorc;..r.r
                                                                                                                1

        ·J

        ~ ~C-Cp~/,-eC-~!)_7;..; PA?./.JoA./ 2>~ /l{'A/f'!',.vt{' Jd//OCl/llVC '~u.~z~,4Pt/~~·).
 36~ :i .;t'.C .11/YC-~,..,/ ././L-f'o C/TC'J Tb J,/,/r/t}/N'-V-<.or./;../o-1_)S"/5                                             ll.J:   '172-(lff!"~
         , LYJf~~E//\/ ~1~·                     t.1.J. Jt//~c/1/E Cc?t/£T -z;t5TC-/l/>//Nc!J //-1/(/T "3ofa?rl!/J''
        ~ q1fc //-1~ IN.4~,)f ~ON~/'i/~r>J6-'r/T ZJ/ I) No I /E'/Z.[.f'cr// 7J'J"c- TYr-7,f" d,,,C-
         ' ~~~~~~~~hf/\/ W/f/C/-1                                                                                     /</   .J/--AT~
             /11/Cll/ Co.VC6/V/14tY C~C0?7c .-1' L/fc/Cl-Y f4/c/ZC:.f'T:
 39.
        i    ~', c·, /./Ab-~AI Ji,f llt;/( N/Y,,f~Q"J/ ~£'AVl.r,/? o;:: J:-?-1\/lJ/,,./ CoP?/~cTCty
        ~ Ot/r:_</( (.. Oo/.(J
                                   /                                                                        -
                               Tw..::.. {2.J c,,e /Tl C./,/LLY-PJA /(::/(. / A'L- ,,c"/?C"Tl.//f>L :1>/?E/17/./c f'
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        ~j t?,,C Tl-le l'.rrJ'€. //t'c CO¥r<_F /r'C.ecc:ZJ TJ./,/f'F /-:>,,-e /JON O;C/'/C/4tJ
        11
           /--/40 P,,-e_di// IJ,5 !J 4<P""~ RAA-<~4t/Ce_') O/" //-/6" />~ / .Jo.,r./E./f.J r:'~/(T
                                       ~                                                                                                   /
        1 1 /QA/~ Tl-1-~r '/l.,,<iW,<?J.z.f P.,.-e,,/J'o.V ~ULc.F'lJ/() NO,rC',;e6'/f'T~'
             ~",_.C~~ . ~~~/tdll/LE ?Av-~ .~~ W~o
 l/O,         Tijt/J' EVC:r../ J.41"./lJ/ri/ LoukE~ 16                                '~../'~~-''qi" Ct-1/LT /YN'O
                      /                                                                                                                        / .- /
          E°'X.-?"'?/N'~() Tlf~ Co..V1{;r//J' (?/' r://f'W/P.!7f ~-e/J"o-.V Je</L6.F / o -
        1) f i                    -      ~      (.                            • L>            4
         ,o-~l/C£ t.<//-/6"7~~« //-l~T vT/f'Tc    ./ If' I r W/(J' F/Z6'C To./ r'~_o l/ILJE!) ~ 11
        ~ L !-<i7C/f Ty f.N /()K:-6FT.J/ l'Jl/t;' ?/2 oC6/./ /ha TcC//o/\/f' #77qyrd
      '/l/dic <T,-e./V/\/TcZ> 8'-/ 7!16' /y~ 4/17c/V.?V?C:-.N/ /6 71-Tt{~ f/,r: Cor/S'T//t_///o~/.
 'I/, JA/ ,;(°'"/t1C F //16. Co41eT /.Ol//\/!) T//,4F /-//f?//VA'ZLf /C',,e/Jo,,./ ~ Wl[J"
        i _:v:
       ZJ /I>         T E VC N C oNV5 !:I' TMO W o L,Cf{Y ·· />J § -0oNK6U.) '',,e /CI///''
         lo       //.//'?T l//Pl../fiLL              7!~/For/~/f) Wlt'!Lef. /t.d~/iJA ~aE...r,AIJO.tTraA/A'il~
             J/fl'//)/N /Yuo                   V€LVEZJ         Jr/To Til~ ''/>}~£_1Tf                11
                                                                                                          O/' v./1-{El//C-..f Ill~
        .~ ,r/fcT.r o~ ll/'111[~.rc: 'lJcr'7d·V.F7:f/VTE!)~~~~~~.:,o''
         j To 1116. ,.,z>~ 1 ni·..vc/f_ A{~""'-el ,,7lt'£ /"'4 c r (J~ ere//\/6= P~ T 11VT0 z;1.JcI',P/,,/A/A'~.7
         .Co...../,,Chv~/17C:-Al/f?;7(f/C._ T/7~ ~- ~-"CwlLT /IA/?'hv~lj.
 l/Z~ ;lt'oW'cVEA:'./fl//)/('."' $./f/)pr.// C'4J'~ z·/'Vt.t.Et;:6'ZJ(If'lr~(J.,AL1A) /77'/?/~·
                                                              (8)
..   '
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                                                                                                                 II
                       • fl~/t.{ lfES/'CJA//.7~"'1TJ !JEN/Et) 1"'7~/t.( T/.J./V/V' "16'4t:
~ L/J,                              J                                                    ~
                          O~/-'b /l n-t.411"'T /o                  c4~N' t:rl'fllv /Jl'V.J[ '' To 77-f I f 'bl..A</( /J~/fC/f/E~.
                                                                    ,
         1.f u-,, '.     ft•· Too        J.l/IVC n.6" J'.Pt1,vce,..;t/ ('JPN'{' ,Hf/f. Mtl~ /J.IAAI TH~
                                 J                                                                  .._                                                   11

                         ''J??E~~            ~ l.X' c ~""'7t-.N r Q/             ft'}£' IN Ttt1 7)/J"C l,ot           J.N~/Z.,7 L "(kD £JW,J,


           '{f /(6 J -4't:JN06/'./T                         /O~/Juv ~/",Cl CI A{ J"              r,v    ~6 //fl          I   r14,,/   o,r
                        ~6, !"1 i/(JN€'./ej ' NtJ711"'7'/..V~ /lie/:'/)~~                                   ~ ;,,U~Oc;( ~y /..tJCl(D()~,/
                                                                                                                                             11
                  j                                                                                  t>,C
                         ~T/tf",C .,A    I     V6/,C~,ZJ~N          t    /IA!Ji /'t:t;f . l"t!' Tl T/tJ••'(/(.'.r   6~16'L/AN(~ /.'IL/d~f
                         /16;11J,v s r h''-'IJJcm./ rl'Nn VQHNJ'c/l'\I -                          f,./_[~~[l(!..":/~l · l':f /I !l./t_C/<, ~~ . .
                       "'16' Tl lio>.J~/l. /)JS Loe A TIN6 __ 1!.J.f Le IT A/l!"? /J'llewl.O.tf/l wNILt:
                                                    J


                       11~ t..J/f.J lh1:l1J<<.1,<~6JJ <!6'1t1r11;; H I S IJACI< - /f/,.J~ lE(-- t1.;1ck£/J /(IV.!J
                        NlfT ·At( .r 1sr1r.1; ''ANY 01?.IJE/Zf. TNGy _c c:1~,.._;rc.4/1'J,."f'..vtJ&'~ Th'e lJ~c- l~I?:.,.
                        tll'?/)~;'<_ 1 b;JllCI./ W/fJ"/:t.t/l.. n'J~ T1..· /.?~felV[ /f!A(~~ .C'~Clr>J ~(r~E_/2J_4",./ . .
                       i'{/-t..   0/1-TH6 '°6' /)1 c           J'~/'M"ir/2y 7~ /tc~A' 1~             W/./t'fr }/1,,#IJfts>N_ Pit)      f.P.t..111. Jf~1,.;).,,
          L/6 .        /.jt,,1/)forl ,,(A,/.(} JOJ./#forl /l(..!"<J (JrltJc£{!!) /?~/)IC/YL                                  cfTA,C,r To NdT
                        /}/(/~ /{~CC-'J.f To /'?6                  bj:' ny /116"1J ICAl ;C/tEI Cr~l!XHlfi1r'
                                                                                                                                      1
                                                                                                                                          1>.~'AtrA(!ff1J);
                        ('tJ/../ ~J ScA Tc fJ n~ P1t.t: Sc d 146()                     M.1'1 /   S-/./c.,,,LJJ~/{       P.,y 1,v Hr'/~')/(/? T11JvJ' •
                                                                                                                                                          J
                       c,11vf I !" t -"T~ JJ M'? /?N r1 u1~ 'J'tt I' f J .f'-16'0 I/'? 1716' {)~"' n s'T ( Drt.,                           .p.;17rr,,,c19
                       ~11... J°<!'l/~/2..E P'?4u711£1-ff"~c.r1(J1VJ• l)ENI!~ 1"16 Ab~t:(v/lr~ WAT6A,. Ta {)_,i1,.;k.
                       /Jr/tJ/~/I. I.I/IS-If"'" fl~,v~J A~Ie/t.. Wit I NAT1wJ/ o,r~~cAr~(J~ ~'l .~il(f'l?.L.fr.f?~ - .
                                                                                                                             •
                       .f'HuTr!,,;tf 4Ff*/rl~C-Etl wrrro~ .c~/l                          0   0AYY t l"WT/'!e lA,/ro f/rtn•r1 vl\/f
                       WJTJ.1 A ;Jt"f X~le,A~ TtS'CJI fT/fff-"/ WHO                              ;:'QN'Ot~!) r'J~ /-1¢'Nlr utl/rW() CZ,)
                       il'c"'1,/fA Ar6 oC C.At.1°/li.-./.f",' rA1tt-·o Tb AJ!,<oao n?E "1'J' Ll.rTcD w/r,.J~Q~~
                                                                     s
            '{1, i.t:AllcD rCI fwTc/2. VJew /?/.!"'. <fqTlt.t'l. -TJ/fN l 1~() To JA '1 lllAT fJ/c'/ . /1.-flJ
                       J.,,/1't5'"/tt//cWt5'?J          li6"./l ; F/fl(,..£0   r~ -rot L r?~      1'16 NAfl1c.J <Jt<" .ft-lmA'e WITNcf/'(f
                       WI-lo)     e., ~¢S°."'7(1.../l)~,..,/7f ow.J             /U)I'? 1r.r1v4 W6A6 "..trANO//\J~ O"WfSI() 6                      r11e·
                       J/t!/( 11. l ,,,./t;. I? btJ,.., /)otN~ I /'fJ'U r~ fc~ .T,)j£~oll                      lit<f' Wl"E       ~(,/i.f'f Do~'!
                       A~ J./tf'.-4/( T)/E 6AIT1/l~ ..:tt.Jc1tJ'5'.AIJ'>~ Wiie Woui /)#AV~ })~,.r(!'AftJ('P·                                           "6/
                       S-Tol~       If   I' 2D> lJ<1[l,q/l.._       P'Ji'NeY          0/U.J~d    A /',;fSTo,lf. ///II{) hJ/VltEf) /(;               /'Jto: f
                       '~I~ &t;tJ.       --1 T/(Al"/.f'f:~R a,A 1'1& ~ f./?NJA ~or~ "()H,,./fo,.J'.r /.(14~&.R,
                                                                                                                                                          .)



                      WM-/<.. ;At/fCC .• Wr2a;-c mE Two (ZJ                               1lo~l.f.T
                                                                                         J- {l./uDfo"1/J4J-J,v.rc.H~·W
                                                                                                       /)/l.
                                               .I                                                •
                       11.tf() f'lf llT.lf l?.oJ/l .rTA/'I Tt. /;fk.{ lllf '1/V'?/.fNJ VL.1)6/l. J'll;./' ''•/IA() .fArilfA
                      itt!lfA To 41,e        ire A l!o~ur !Jyt_            Te;o-:   -Toto J/IN/A        ~OJA        J   74,C,r ,."'- .[rJJI./~      M~         :



                                                                               ( 9)
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I.     '/8 .       C./ftllfc() JA~Z-1 12..AJ'A                J;;,;:-,c    To CoA/J.l°lre.G                r(i
~                  11
                        -.ri·/ ck.   /l'Jo~l..J/Pd'tll~ '-'-"° (/dt.<' r1 T; b'lt.lb/l-J)
                                     A
                       'J.fl/IC/(-C OQ Al &JJ '~· AN!J /-/AV~ ,,,_:Je Tl r1 (;)~~~
                   JL1?Jrc-cr6'tJ lJoNJ/VL        1-/1f' /~,~~_!!_~~f~/
                                                               o,c
                   p~N)/1l- tJ/ J/-/tJvJo/?..f/ C6!V//fl o;:Jfo/fiVC:..[_/
                   P6M>4/..              ojC l//f'//(.CwT./ ,·          h&~C           '' T)J6,r/'' B'T
              J7.rf~G o,.C N6.4.al~ .Q ;;;o '"6 !)oll"1/?J WP/l. Tll o//?'/
              E /J18f~ ( /?~Iil:.61 /t1u~_£T~!__ff~Y~l~N't' I Tc;.N'Jf).)'
          49, /'L .4 c ~J)_ PC-Tl TJ V/\l~/l.. _61 AfT<flc<P/-/o,.Jl~ O<)a/ '"I/ - ..f"/2€.!J")
                .FJ111w~~
                 .
                          /Pf(. Ncf"..4~?~ 8 l/t-v/ZJ,I Wl-t"e/tE1"1 Yu~~
                       c
               ~ r 1 r1u,-v6.!? ZJc ,<>?c/{'r6'               o/
                                                t<n. 1N/f rE.!) "'f~e.rw If..!. I'? £tli/
               ~r/'0 W/f.J ?c/:"T L/1<6 /hl.'1/ oVe~ b />Jt1d~ /./pw/t-J;        ,
               WM./f'.?t.b" TtJ CicAr./ 1-/1/'?.f'cl./: (/I'(. C!7'/VN6¢ C l~/,i//rt/~
               CJI( t:cr tvX'T€.~ r~-/.2-?-lNk k-~-~ -11/J·-;c~-;b i:?~ '?
                   '
                                                                                  ----~         .              J
                                                                                                                   ·
         Jd.   l'Htf"/?E/f/~Tc/C             r'w T    //\./ ,,,, Celt           (JN /IN £,f!(/A/ ~l4.J..t
               J:t/) TH        No 71-l J.,,./~ /:'O/l, N 6"4~ t~2'         f    rr?p/l-6' /-jl:/t..,/Z   ';t
               Wlllt-~           W~A/2.hV{           w~ T/J-r1N'k
                                                           c LCJ/JylN/; /v'J/le;I/
               /Jc·rJ r 10 ,vc/l /-/Al/' WAS-J.lc!J '' (/?./' 46crr 1/6' c~l ~
               i:vlTJ.lt-l.fr JJ!JAr'J..&:, .?(h ~ w#Jf6-t,--r--;;;-;:-_rt1f
               ~;v;r"~£.I)                LcET .4./?.~      J'lfVi-,z.,/)c/(.    {~we      Tc· .rr1 rc/.leJ
                   fl\/ J./l.J /2 /6/IT Tlfvm.;S l.//PNOi· /Jl'j0        ~61:-V~ /&?Ch?tt7
               .( t VM-CtJ                "N/tr4o/l/CtJdN/Zi'l/fC/< c~~u..J/IVl6"76-~Zi;"7Jll~                              x;
                                                                                                                             1


               6 t'C../ ,//NO lJCNlc() (A/le IJLI(" fl/,''>'J (/JJ'OC/C TJ.lc Ii IV~b/?.)("Ar/J
               ~;,..:/../ DJ.r,,yl?lL /T;tfJ 4c.r 6/ /7'/P "(,1?JA);·ANb ,.ct-t'-RcVIEvJ~'
               1
         f l ..· l°tf' Ti i/o"1C: I'( /f. 6S/7E"< r/llLt '?             ul'l '°cJ 7JIA r        Jwc1-1
                   //cC.t>1"?/JA~Y MEN'/f     J'/NClll./l/l.t. y AN!J Cott~·c rll/ELY,
                                                        1

                                                        ;



               1"r?.,~/l£ T~t? <17 /Z.c.J/!'uAIOeN'T /-'/l./fv,..J O/r JC/Al~
                .                                         .,,        .,,
               ~cN/.)~l'C_ /I/.) JI /t.//f?T1",.../ /t}.)        '       ~




                   ..(I.Fe f6~ /fTT'1Cllc!J CPJ"?f"i~/f'l/i f6N'T 1?Y l'>";J/f!I(                                      to
                   ~ To"1. trl'f-C<Y 6'1/i.;zf' 'ft7/t'E;fc/A./ /</i.L~ t?6T""</JI I~
                   ,4Tlf_.t:JC I r16/ c()         ;t?.,...,, !'T6'f)   /fC/fll~.J T     /?6'Tfr.ro11Fte. .,

     '_'C_l"?--11--vJ_c_w; fl/ 8 :rE ( T~r P61I       r1 VW(A. T~ a Ve~ J ~6'A/ZS ",c L c1C R lJdwrJ 1
                                                       (lo)                                               r cN!J ~we>r£JJ
--- ---~~-=~-~---.--~-=-~-=-.~=-~-==~-==--=-==-!!!)~:---- --=-- -- :--=--.r-==-=--=
           •/UYJIW/·7 '...:Y -4&' r?5l<?/v;:?J/VOJ                      f/V?IJ /J'r.?c/        .7./(L ~g <23J'/?Oc/J'_5? l
--=- -·- -~~;y/V0/Jb/J'7Ji2BJW_9~:x;;~;t-:,~1;~~t/j.Y;~;~~t) ·~· · · ·         -=H-
. '~/?:"!'?__!_"BMC!?_PJ-~o~                              J>/V;;;v/JJ'!:'_?~ /_~ '!o i}'_H~ _J!_~lt,, ~-9<?/V/JL ~~---- __-_
    ~ -rJJ//.?.L .r0:?..l/J .9,4              Cf/VY /VIO/Vyf           ~)%         JJ-"tY.9_.t;    E       J.9&o;J /;,J)/J3,,{ 1" 9.S
- -~(ii6-il)-"Jozy·h-/;zj- ~7-¥S3A -/f ·J~~~J ~-!;J/2/0~-~O -=/~~~V/17--1~~-7af ==- ·-·=-=-=-~
 ····- :70- -Y)'b/.;; Yh/ ;v7 7';,n// Z J7Q .('..1 2/h?'.:_,) .7wYVV"hJ' J "7 7-1111 Agl
       - <23?7~ 'PJ/_9Ao-iv7_;>g--7~i/ll(r5~~2 ..1/~;:J~/~li//;J 6'9i: -:.fC/c7iY J        ~-~Et ___________ _
            - ----- .                    :-
                                -~1/"~/vY_,JJ<.vtV/J//ftJ/....!,t,/y,1 Yfl?//V!{]/VYJ' ..! V/-(L t
--------------/-;~- /~:i;J/~J/?9- ~T~ -49--0~?2-- VYiToicY"_?/,_o_ J/V/o~ -~~)ij~N;.;·T'Zs-··                                                                     ----·--·-
  . . -,;cX7J.--.J7..J>.7JY ~-7z1j l/;;'k~-YF:L.r.nC/vfa/:7 -~J/·7 -?>/ij·-7"t?-~3/)~-------                                                                      - -·-·
-· - -- - ---- -h/v6/ -- "2/.-Y~/Vh--r7?~VP.J.'9~J'i rf -.;>:p -7:r;- .I//Y-h/::f oiv1Y--:l:J"hw. · -- - ------~--- --
--- ---- ~~~v-~~~~ -~-------
                                                                                                 ·' - ----- ----
------ - · - - - -fa77' /V"J=.- /V3J/J _:? -L':JFJ/nJ~~/:) -&7fo2)2-J/h-Z5J -YJ J/7-j]../5J/J _:7--
    . · -i-}7if/3/_ij o._L -_)']JJ'/~~;yd- ~/v~ -~-Y/V/Q)O/-/,, -_fj;; /'-7Y).YJJ/5- 37ij L__ --- ----
                                                                                                                                             1
                      -/;IYVJ~?5(2 -"iJ/- JJ"C/iJ3J22/--Ji/\iV3J/J1 '·5 -;-;y-- fal:9:i'/Jl/--;_                                                         ;·CJS
                                                                 ,                                                                        --- f
           -- ---·- - .. - - ··- --- --- -- -- -7/'7.9h/Ji/>PJ/-1- (751 z /7-1/J);;- .:lo -.J.,2/,,1ii.J "No.)
------- --- --_y/.//                -- (/7\.;d~-5»g-- /;J9./ h-i-0J';j~-- J"d/#.J">(12/tY.L/                   ../ /V/Y//y'/,/V-n/,.,
               ~                                               ~               ~                       ~                                 ~J~ .
                                                                                     0
           J'-!!::-i_IJ f'!~p~~-~~~-~~?-~J/~A-!__Cj,_!__!__ -1 _-:w o!;'~!PP/1p _.9_;j~)/t-- -                                                               ·-
           ...r? IY/.7/;/./.CJ /V bJ'/ O'd ...! _,j////17 ../',J/_r'.:a /vt7 / ..i d//V/           w   d/YJ      .>'<2 / J:.12/h £>../ .
---iY -7 ;~-9w ·-o:;--/.1;7-;y-:J7;- r17:Y7:Y5.7J<i7-Y.7 /i77'htPP--7:1 -r"v1 /vJJd, . --- ---------
         - cj/vp -·-7/J/J:h;JYV7:,/71Vh/f,;;?J; -y/7/,J'77;JJJ7 ;{'JJY:>/Jh/jct," /./3..9/Z Y"iv/7 '
 ·- -.i17i//317/0 ,/V4.f/2/t:7~:i -7;-:,,_-ywJ~JF2(_7Aw--.L v/-//- f __i- p/V-9"1//J;JJ/tY__._ --
-~'lrYI ;y/Y/ ~J//i111>1//V/c1/'ll{Y_[' ~17;·y.JV7?/'.YIU;J-;;,_;;-v_x)- ~7-Y3l'l-/ "J/v/t?c/ -7;z~ J :S.~
 ----. ---. --"l"~.· 1£.177 -J~.'i1.·;;J-;:z-,--~;. ~R2..--.0710/...:IEL ..tN:.1)7--~-::F ~.Jh"b. 0/w/7
                                                                                                      . .- O/I f.· -. --          ::.,
                                                                                                                                   .r
    ..      . .   .   ~   ''                   .   ·'      .   .   .                         . .           .          ..      .                   I'.
            ~~ ~·~i~-~---
       - -    77vY'o -~~-x/o~;y;J;;7~-/.Jf/-3/V/...1...t/Lvd>/?J z:.,73~.,;-- iif.31-l#///17--J- --- ----------·
    - --- - - -- -<?..2/v't-7-!?J"h-1--Y?ZJj:_c-..r";:>nc:>y;;- -; v,o;h 7Pc? vt?/;~;_o-7y+-- - -------
- ·---.     - -- --- ----- -          --- ----7         - - - - - - ---   ~---- --       -- - --------- --       f' - - -   --- - - - - -   ---l----- -··-·----
                               _7/7/ ?_! I?,r:!/   ../~ J:7/o/O:J :7(7 / /702/c( 7 J/frl J-                       2/-9../1 0.92/tl(,v ~          'h.S
            ·-· ·-·-·          ·-·- - ---- ··-.-.. -!rilbl7r/U!P_J .-J / #._L - /\//)/_LI/~- Q~_t. -/ 5- .J>.fv_;it-                                      ----- -- --
                    /7 .JJ;y -y,;~:--yj/.LON 7J:/://c?/J~. j;"/v/jJ;_L-:Z/Jl"/-;;-ii-9..1-t¥/;-;;JJt/ H-- -- ----------
 -· --- - -------- _:?;y.;; ~73/r:-/;;; ··-:_;;;S-;d;-:J)v;-;;-=-:;,-it{ ""Jt3.i?f-Aiin_/j 3:.9o/s:.92/ -.L~ t--·ts_______ --
----- Tho/[;-1/J-.S--'"'< -~                   LBU: -//J- h NJZ        ·:r'lSU     -1/J-h .wz
                                                                                 -!:#- §JM'J /Vbyj -Y9J')1                                              ·zs--
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                                                                                                                                              ~
                                                                                                                                              a
        y   __                _                                              .
                                                                            (7 I)/                              !l
        h_:J.~J'.7_.tJ wb?#.J _7?J?d//.T..1'/ /l;j/V /..1.5 I (,J/V.£ '-'""!Y Z ( 'v t1/..!J5J..LCl2/d 7 tV/70~
       0/11y JJ.:?;;o-;yc:/ 3nrz ~31?/V'n J11,/-// "/'//>J/ ~d w- 9 #y 3J~J.32/a
                  Ji.911;yy_9(l7P/J'Jarl)/o/Vl/v~o Yo (Jv/-1_1_7w .Jll/ J'//;·
           /,Jl)/JY'A' i j                     3.1~Y71.V./Ji/ r:~~: 1?17,,) 3J/.M"2/-9//; o             Jv-fa'J ~
   I Jc:l'u ,r;-p/-/1'?,f)/t>,;/,/0                       !P~ (,,~                     t>J?YCJW       /''5>..'1-9/:Nv Woy.Ji
   /;; ;l tv'/../JV/tJ/..JJ /Vd'b/_:7 O_L ,{.f / 7/ d/t/ (i.7'J'b cP ·-..L.://'? 0 ,NO./ (/OQz!J,, ~ 4./ tY//I)
            ,,,9.J'Y..97..9,}'/V/./J/2/c/ b5'/?cYV_9_LtY ~..///VhJ'2/!?c/c/O ~:?w                                                  7h'/,,,,
                  .:lo     A_fJ7/.J?IY/ 7.:? /-,tc/ ../<? _/VO/_fiJ//11 J/d.9(7 /)// h"J'ln..;9/V/.LJ/<7 f
            o_L     r-IJ; /-//1? /VOc//7 J'IJ'tYc!? <J:77c/ l J/V/ Y<Z O/V                              J'J~    .l¥3.H.L /o:Y (fy                  r' z.9
ro1 Z .l /;I /j])/J;1/l),~d-~..)C.. ~~if -/i;77v.J I .L 3 <Yo 9 /-(L. .1. J' I/37
-117'7/-tJI}-/ft7 ..f/i/i? U tv/V /             / /..76-'-W           o/
                                     3 J t/3 ?.5/2/ ~.Y / 7 2/t.Y/ /'-'/ V .£t:9'o 9L
                    II
                           £...L .1 "//efr /   cfJ /    7.:7 ( .. 4J//Vh..L ?/~,/c;/O         3'Y;?tt_4 ,J ;91-ij         <73_,lli.9>/ 17          li
                            (j/V,Y~y-?..;IY'/V/W/J/JJ'/fZ,                            J/ O/VhO..:/                    wV~;5Jotyd t~
                         .?/(/ f??L .77/&19.J(h 77'7/J'J.9.7.:;Jnf O/VV                                                          f
                                                                                                              0::r-- C2.:f???J//V5'
                         ;<; 7 7 h .Y'J J.9 7 J /1         ...r}. £    1tv/7 rz 71'7 '7 /YJ,, /, y..yJ .9,f /'y_?1-U_;)#     /J7     :::/
                                                                                                                                      .- O
                  JY/..f/ 7/£'/J'fat:/ /Y?v/..1/V.:7_! t?c/                          71U ./P .9cY/?JtY/J/                  ,, ~.J.::/Z ,/ ~
            J IY.'.f7n/V/ /            3JU         _;; kv/O/VIY..LJ/-(! //'7-1c?/\/ /fpr/71:?_/ ,4y_J/_!'..9h"'                  3/// . '/ <J
                                                                                                          .   wVcY:!Jo~d            31(£           f
                  _!h?J/r.Ll'''h? /Vb///                          2/.:7./VOOJ' Jl-1//V,c/td (:;)Y/J' .3J'VY)5J~ [
                             ~..7,¥J'..:?~             /'/7 ~ 3 ..i ? tYJJ:? cY  .3/? ~;C/,, A 7 7 VI.L/V-:9..L' Od Q 7 h !/c./7
                     ~                                                                            .                   /                       ~
                         /7.J/h'fi7 ,Yo /"'O/.Lf?c/W.£/.;7 7 .77/JJ'Y/../,,tf-?f' 3/CL ~·V~.Jl!T'.2/(Z"
                         ./ v/A'.L-O"'WY./J/./Ocf! 6/ /V~- <7.9:.7'Y7(7" ..9ct: ?L 37.JY/J' /7 Y /VJ-           ,,,                           II
                                  J /y'-4 ..l..VJ'-9~ :JM/V/wd/-9.-1.?'(7 J?Y///,;/./r.? /VOJ/ 2/(Z' he£'
      'Nti.// Vo/ l:,.,v<'J2/
                            ...:/ .9J'IY.9?..9;)/ ~.:1IJ2/Y..:7 ...! f;/ I/ ~/ //Vh..f °21'0c/c/O Y-2/:iJ/.v,,                                    !
                                  _5>/f.L         f2.51//V_3(7
                                                  J'Y/11 ~3/VOJ'/ 2/d' JVl-/.L. ~.Y.JIJ'...7.-1 IV_.1-;·1·0 9
     '.:JJY.9?3d" /..l'PJ/ C/ef d/.:?/7CY.r:YJ>                            /VtJ~h Yb//J/v"/Py         //Jnf /p            J.7Yt7k..L-~
             JrY/_//V.Y.LOc:L _;:}/,(:!. _:;/v/o/VtY.L'Jf/..! //Yl...{9/V /_5lwt_!/VILJ/._j? /V 2/tY..;?                               oL          t!
                 1, 4...l//V/ 7L )/Pc/c/O 3'Y.7w .91-a :/o J'Jo 7 7.1-tL d;,p/V,,, / 71ny Yr?
                                                                      ~,
                            .;;9/J/(}' /VI'.:7 ..7/-ij ..70 .L;:;by 3-1!.L J <l .¥v _;j)3 a- s (;/ j_/-7_3) / ~                                    Ii
                       J' .f..:?:? 0 2/of .9J-? (l d/0 J ..f'.,9?/;i'_(/VJ ~..! 2/.9J/ / 7 0 /V f .£- ..72/_9/ij II
                                    _/V/>7 (J (l ;y./ (? 7 ~ "2/iY./V'/ 7 c;/I./.f I rZ 0 _!/\:Y- (7._y 7 v 7 c/ .:;/V/ ;9'9 I
                           o I ./"O)J I rJQV /\,,..£- /...9.// 7 /"'OJ'/ 2-'c:! ft? f J.1 :Y"Y:JJIY/l .9/ij ~
            _/;:?    j    J/'IYt:Y JI/ J V/i_/ J.:72 /_FJ//-'lc/w.J l'_;y/V//VOJ'V:/CJI 7/YJi'] J                                   (?/Vf/         1
                 JY/V3Wr.;9J/b' ,Y.9///0 ..!?'Ve/ ../.NV.?(.:71/VcP/.f' I/ SI/ l_r.JY,:!)/yf/ 'J                                         '.¥j '6S
                           Case 3:18-cv-00155-MCR-MJF Document 77-5 Filed 03/09/20 Page 15 of 27
    I
    Case
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    !

    ~
6 3 ) l/-/<:; fL//?~€/>'lr!: LcJlf/t.T 1-/~l () //('17 T                         flf     /-lr'~t ICA' Tt6/I./ Ci/" _!fES/(E~f
    ~ LA t.J
                  11
                       {/N/Y/ I J'/?(..fEt1 /.?(,        '/ ..2/vl t..<4 lJ E J J 7A lZ- P/f / .)'or/J
      t .4~.0 JJ£ /JONc/e.J ''{YC:J'kE'~/AT'!.!_v (~<""2y l/.J'. 2ot (1798))._
f;lf. 1CLE/J/ft..Y. A.r /-7/Cc"V/(}tj',)l.. ~ J//f!IC:-'i) £4~7 {Like YcfltEY)
    i             /                                      I/        I         /

    . /J/C..0Tc·c7C:!)            8y       7?-/~·        /llJA;        AF P/.. /'77' P76'r./7/?L ZJ/J'/1-<Ylt./71£5;
    i W///Clf) /9.F /£6vlo t.;.rL7 f;;;yT~lJ"' A/f._6· w-51 f..-~/\/t7wl\/ To
    i /D,re /J'oA/ .//;f;e/· /?/Vt> .f?7 LJ/.JCtOJq,--t.f!:~ /'?()r.///!l.f" /?~Ci _f-rVa-wAI
    I                                                /                                                               /
    : Tao ?7              k.     C, /-//Yt:/fN.                                                             _
 6 5'. 1J.-r;;,; Jt.//:7/7oJC:-() To .<f'~ P/2.oTECI0!J /"/CO·/                              /VC-l. /7/~J<f' ,6'ci(f:'wJ
    1                                            -                                                                       /

    ; 0"'9.06-t/~. /,",,,y t. .r//"/C:i) ZJ~:r;· 2?y /'/f:. / .Jo.V- C /><-/C/4i J '
    J. r7/." ?i//forr;  le, C', l//VC/?r~ f f L,t."&rt7.t.__ c cqN"./6 ( 7o//""o/C.
66 J~ ~.£I .JoA/ ;f UC€ 3 3'- '/c $1, Io~~')/ ~ol/E/<..NS 7t'f'6"                    .
    i   '?)/.JC /r:'i-hv6' ;11/\/Z, CoN',,C/rV'c/>76//T o~ /?/76'/'/MllY
        {) / f t?r(, /Jc/C.[ZJ
                         3v~/?TC.), T/7 I .r /7 l.( LE. Jr'6"c / /."/ c/f LL ';7
                                                              <;
    1 -.                          ..      --~,·"···-----~                                    11    •             '

    l frJ/{J/'JlJAT~[ / /-//f T .Z (/{'J .4/\/ ..Z:rv'r?fi/6 ~ q_. ~/Z4k:l.P._/
    ; ~/~~-ad ;J.h'r? ~ ,6'1c /?/?._ oV/d}cfZJ ._r0-;,-z V'1c;J;7 /J/C
        Ct../A//C/Pt._ /YJ'fcfJ,"'?crv7 C?,A /1 r7.J</C/-/oto6''/J7· o~ //J'yC/7/A'7/z./FT -

    . ~trt.e_ cY~~~O ~A~ Z~-~-~--~-~
    i   ~ ..:b          _.:-<- ~~d- ~~                                    ~4d (Jc~ /?.Uts EXl//4f/T '?:?').
                                                                                              /1                                     .
{.; '7, ; '?~/JoA/ JT.4/:"~ ///Vv~ J';//1T~[) /J.F?J/.' 7t:J£J/?Yf' O/f!Tc' 71-;??T                                              _
          ,,                                           /         (                   /
        1 7/7'c Rll'£/6 ZJo~..r /1/t?' /- /1//-'/>t,~ To /?7E'.'' 77-16- W"/?£ &C:/'./ /re~
        l

    '/'? T J./f'N//'f' A! ClJ4 ( /iJ/C , J"/ r"J/ '1 '7 Co/("!:~) J'//ol T~!J 7J-tI .F ..l/i/
    ' Ti.v'CJ J~r"A'Af/17~ JN'..J//V11/~~J kn ~ Cl/\/ 8··7- /J)"'
   /:""~/2/?'/.4l C;e /f:t//fl!VCE LoC' -7i ISa?-119· f(fJ ] .4.tVO .:/f"/S'o?-1 !~ - '18 '7 ).
6t( /?(cJ€. CaA/J'//lt../ / E G'~o-.JJ' l//tJt.,tt;T;or/ J" o;: 7J-1£ 'A!J/l" /716'-
    ) O<c1..//Z£.c'r/Cc                7l-/'c:-;-ec:·a~       2'c/N'6="   ~ Ct.c>1~ L>w~ /-'/l.t.?C/.!F_( lJcrVt:-?(
    4                                        .                                                                               /
      ?<C:-t//cvv'/f~{c~ tf'y 7iYe C ov,,-e.TJ' W-4c;-,.../ 77/6' />?A~/f'/77t:fv .-'?C T'/t71//
    I                       µ                              'l                                 /
    ;/f'J' f r'.//Pv<> l""1 <cc:/1~ L..C:-6/ft._ /f /tf'//T( l?'N"v>c«: »/'c: /104 1?~.o         .
    Jmc:-· ~e:'vVC:-L/.J'T,C-!J /J~/J't:?.V ~Ut~)To .d"'~ ,...C/t,6c d,A 77/6'
    !4/fCre ~/'?/.vA'            /.t--:£7 /1C T J             L /J'Tc:[)    /-/t</?.c'k~ ~~~ ~...£?_,/
     ;1Jt ~rr:> ~~ r ~~            /~ Pl<_~ ~P<A_.:4r~                           .fl?..p_/

    ! ~~        tJ-6 ~ ;t: ~./?J ~/ ~; /4'fa~ CJOA.AV"J°
                         .M-e,

    ;~ rl.. p~ r/~--<-6.~ M~;f ~~A/£, C~-n4"/~~.
69, l'i ?l-t6'~1c /Yc:1:r        Tdo / ,01,.ez· 72cA</.l."'f14L6" .&'? 7// c! Lf?~//e.T                         Q/V'

    '                                                (13)
                                                       {;,/)                                      ~
            './'/VO/j ;J t/ JhLVb'(//VtYw /;///J ...1)#(2 :_;/~ /-'!:;} //J.Y '2( _j)/V/ J/.hO' ~
         42/~/.//17'?_() _;?/,(.! ~cP ]7J/tY/;IJJ/.?;J/ .7 2--'V )-/..:J / hl/ "l ·J..;J3?-9.._!/~~
         ~/?/~P/7 {!.YJ'b~ ~J'JyJ02/o/ .-?/?c? ~'I!:___ fJ O! ~J'!!!/ -JvlY!JV I 'Sl
                       1
                           (,'J.:llfJllfX7 f/.7:Jt/.?0071/1),1 ; . ~· ·~~~~~!? ~
        :r~u                                          ..       ..    ·       C?    fPU,   ry--· ~~ 7:7 ~· ·" ~.
     /',, JSJ:.J/ V(Y/1.7/"'2/5)h ~7 71..7' f/;?YJV/(!/V'b:/J'3:?~1.J / V!Y.:J I                                        ..Lvr1_1 <l?.7/.-/
svrr-i.77/1')/:l/.JY-:;;,/~ S;iJb'J                                            ~9.Y2/.:9.Ji' ~3(1?1 /YI       .?1/-(I    ~y/1.9/\??,.L/ r· .hl
                                  • (LB 7-£ ·(;/,/ -A,1oz .'7s Z.f - /YJ ~ h .1 0-c I {JC/P.//;J/ 1 } ~~Y-v~
                              _,CJ .                                                            / ,,        L
 ?-:vlP-~yz/£? '?V-J:7 t? / f/37_; /.L/V.:? ..LoN &t/ J ...! Y./z/ J9J/"'(Jc/J _-:?C/                                                            1
  J---y,,t/ ./o 7,v,:Y_;J/7~_r/":.f-(/;J...(/'..-V/d/ 7.::/)r27...l,d/.LJ JV/-1 /"tYYY/I ':;·,.y r 'EL
                  1'
                -~~ .:,,£         '
                                    f?-7.f)c, ~<)';:/(7
                                                   '
                                                               ~~--try~· 3Jio/!/VIJ'j                                     I/
           fJ_/   J:?.l./'7<7 ?IY'/ V<:71L J/(7.J'/-;]//?/' ../.Y/
                                                             .:/o l.:l.Jb'Y</ (// VJ/ -.!2/'t:Yc;/ .J'v/:
          ~ 9L .J'/Vt.7 /../ t/7 /.?I/7 .J'fY/ 0 -;)/c/ ;7,17 f' .:?J.7/-// A (j'.Y w .92// .17;:;f/;5?;y                                       r
                 ,,               /                    .        "           /                   '         t
          h / / J' ~_9 /Vb/;J ,;../·tfa&IV(jl/V.1/4:, /V/ _;9JV/,./.J /J' J'J//)~J       3Jllf. J'/7/:f.L r '                                        Zl
  ( {6<'16.J 'YJJf;./l) L9};/ f'l! 6 98 t'7J9fi>.I./~£·- /J-J/"9Y2/.:1t9rJ71ftl_;:>,_..11,P/l-/X.} ~) ij
                       It~.           A   •           J'J 7 ~<?.7J! JI'i j _(/ "7w /V 2/y/l t/_::J
                                              'J5JJ/VJ//7 .:?/ J/y           :/0
                   -.- ~~,,1141:_vPij_/L?~_:o/._7//_Y /                            i      c??Y;y ·7;;;-~9~-r· -!t:J     wP(/   .x9j~· ij
                    [)/ J /ij.,9/ 2/ ...//V.9i.,./ (7/V.7w j;/ _( J' ~y ...;/!/ Yj' / ./' ;:yJ )<'.7 'd/ .(.'_;/
                                    -             .   ..            . ·--       . - . -·--· ------· /   -
                                                                                                      - . - -·· --                         ..
               .,//'./YW,,L-/J'//V/"lc/ : /c> /v -?J,L J/..9 .;)) -7 ,t/ /vtY ..f'!Y/Yl J ..JYc/ 52/-1.L
                                          ·- ·-· . --· -·- . - . ------ --- ------·~----                          .!
                /-2'       J'3J/./th1y/                       ;yy        /IY~..//J;;:l_I (/;? l.1_/ (/b-'"/7 .:9/-/ .7J~7d//.:98 I
      ri .}/V/7//./J /(1 JY/vJ y// JJ//// ~.9/V-OJ/ Vd h£ /-'/.Jl...(IY:.!)37 ?Y " ~:.' 1
                                                                                                                   ,,' V75># S Y/T :.
      J?V.7c//y                       ..:/P J Vhc?:;? J/n;J,2/1./ /-/L/'·/.9/1;:?7_;? /V/'?17 /.,2/5'/J                            J/hO f•tl.
   ~( (7)(/)   LlO         '£0/-E£/!J.9.7 0~d 3//VJVA;ll2/j) /VfJJ/ d/~ .9/(L ,:J/V/ 2/7/ .L_/l                                             r
         .J'.i'.1Vw(YJ:' .:/? J'.,i JY 7/!L' Yr/;:/ I.?IYJ'/ Yr7.9?//Y9.?/ v!Y2/3(f/V//l o/V't~ r'.
           ...r.9.; IV(J ~<1/& 1171/-1/V' J:7? r? J.! /V/Y?O / J' 7 IY/.?:..7../ t:? /VoJ / 2YC/ u
                  Jb/ .fnWY{1/Vd/w .0cfJ .7?!////(J-7w3d' .3 ?/C/ Oo..£ .9J'3/:t£ l
      ---;;fJ#no.;;                             ..91u fZL O/VtY' J'J.5'.JO#c/                      9.J/vJ//J.::?( ~.}} 3/tL         Q,_L
          _j:J' _9:/.;; J/ .;5>/ v'/~.;?r?/V//1" '/ \,10/..j tv/V'/ w                          /   ~_/J/ (7   /v-?I ..L tYI 7t!VJ,Jl(}'     f,
     j--7 YJ/ CYc:/.9<k                       .7:Jr:?.7 J 0/ 7 7V J'5'J tY:J h LA/ 5'J /V / J' ~9//0Y"2/t?W r 'OL
                                                                                               - ------· k
                                  "                                 , . '' - 'J.:3°7tYJ &' ,/V/>''U;) .f_L/ /VII/(•/?::/ i
                              .                        - - ·-·----···---·-    -·-·----~--·---·                                 .     . . '' 1
                           ..!.Jh /J                  J/Vo1-:_:;_92/2//'/J /t7 .i/V.9w_rTY.?70' IYe7/"#'~ 7-7                           ,, r
                  (     -zo~z                    b"./a;;J) ZhZ /7-Z '°.J' <7t.l _9;;yo(/&/ -./J- 7->'~A7d ~
                                          /V_[ 0    ?;;?~/ J;Jt0 t.7_;; .9/( I JI:/ // "?Y'l/l Y cY .J.f7WtYO/v-Y/- ~ ~
                                                                                          -                                           ~I
                                                                                                                                           JI
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                 _ 7~ , I. ~•               <. 1-IA~/lr/f
                                                   Cot:NTJ ( /'.£. / Jqr,/ J,.r-?r/) , _/I ~. J/flr/1/r ,tf'J22L _____ _
              ____ ___ l!A'V6_ f_<//'f l!i-c:_/\f /"°C-.://f (tl__ "lJ!fC//7{.,h/_A'.£?! ~~~_:"/ _________ _
                       ': /.7C-n7c I.A/? /'?c:" f r / Lock ZJo µ,/r/ ~/-'e>-~./ c /'fC ~ Z>,e W / 77/C/4'7
 --------·-----·--·  --~-·--
                      -                 - - - - - - --- -- ---   - -· - - - - - - - - - - - - - - - - - - - - - · - - - - - - - - - - -   · - - - - - - - - - - - - - - - - - - - - - - -/ - - - · - - - · - · - - - - - · - --   -1--   -   -   --    -     ---


  ------- _.                ------~CLf ____/Y'C:-Eo__~dHL~_qLlJ:f€..__~6:~z_,,g_L_~f__/f..~(I~--
                                                                                          _ _____          _ ___ _
   __ _ ___                ____l~~~ct2~I£! !:_~~__&z__/~4_ _ ~ _0_~_!2_l£C~!:_f(_~/j~_Z /f_ c_J_}r_,/'_!~ ~ _ ___
 _ _ _________ j C: C-c/114 {/' f~ 1J6"~£Jt{'~T11:1r:/ ~ _/(/(<" ~2Jh!__:_~~q__t;;_~/f_~7_~                                            _ _
 ________ _1_33-                <f'o 7". 1o 8 (!Jfz/, JE°l/c_/(~l. ':I V/lfcT/7N6- /?9' hC:NTat.., H6/ILTI/ lJ1~?'91!!~~rif,E
 __________ _7__? .!_7-"__!_lft!~c_(!:_q?'/fY)__f_?'!/_(i~{_[T~!J___lltEZ__/1(.:C_(!_;:-1:_1~(~r/~~ C£~L, /l/?/'c,:<1!-J ____ _
                   ~To Tt..Vo />?c;.R..€ 2>/Cf/ -·.A                         v//t.L O'c /°/L-//v? /?,/Y/1/~A/'?Wf'
                                                                tvt)-,/-J - ------------------
 -- -·-- - ------· i--·------~-                               ------                           ------ - --- ------------------ - --- -
________________ __,/ :L<_['_1or/.[' __ q,~p(l!?.f(__ ??_/f__/ _-~qi___t::(:' ll:f:!_!/f'.Nq_(!:!Jf__ _!l(_~_!?/_~6-?.fr<!__                                                                                                                               ______ _
                  -t ff'~-~ c. /(-!f__~/f_l}!_J-/J_f__/9l~_ !J_lf_~_/j_tf£1_[(-'_fi_I}(_ Q/\_f.fo_(!'f_(i_ _C'qti/Jr'/;?4{Y,. __ _
             7_8, __ 72-fc~C::: ~~{_.F!"_J /(C-/C~ (J__{;__f?_A/~r-.!O~-~~''c;f~__i?!'_{J/ -'Z[/ _______ _
 - -- l                /"?~tfN__J TwOt" ~ . ~ _
                                1
                                                      C'. _!(_~f__/j__/\/_ f !!:!!:E£ ':_[//'6_~11 lv!_ L? _ c /< _!__(j -
                     //4Vc ' f-4/\/C//o,.J.f' f/>?/?of0b 4'/v/\/ ,/'Y?C:: /0-<. /""It//'/~
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                                                                                                                                                                                                             J<
- - - - - - - - -- ----- - - --- ------------------------------------;/ -                                    ·- -· - ----- -· -- - - -
-__ _ _ ____ -+
                                                                                                                                                                                                    .


                     :7/91'\(~/f'ft,7c.,?'J:- ~c:_r1 Tie!~!"' __ w: ~ ~~1ouT rz '7 14-A'v1;vtf' ~ t/s__s C'a bV1%/l?_c.~ _ I
              7_f .j_ 71-1~- ;{/v1/\/C Tl 67Y.F ~A'~ z;/_(_l~ ~!J £ __ _7}tc:__~ -~c;-7~~,-< -~'µ,..;tJE/l_
                                                                                          11



             _ _ (fl, !_3-_60 / _,fl <( (9_-:_32)_/9-:_if'~__ /.{. IY~j:l_~__.['!:q/t:!7.C _< i'f_<f__,2_22__(!) ~ _____ _
                                                                                                                                                        .-,                                             II


              __ Bo ,              _-!/f qr/IC/fft~                           .I,L; _k _!_<;. 1-l/f<!'/VA(_ _..{,[_ Jt/CCC:_('--f~t/i ..t:_-v:_ /(,/P__'!:A"({° /??c __ _
            _. -t £-'11.;\/c nc,NC!J "{_wI i7I .t[~/r.[.{'. J'Jl/T IN_                                                                                        L o t:_ K !Jo_''."V/_Lu_JJ "',r_ /f'/N                                     c            7i"'<""),
          -· -                  +..L____~-!__IC(          Tl/c/-i/_~c:<A~~~-c~f? -#-~i&- '(llr K, <::~ (-//l_t(#p/f_ __ -                                                                                                                                  - - --
            ___ _ _              ,- {'__~_{_~(>~__/_q_:::(j              To            ef'~__d_~(C_Jo ~:d:e__if'-<Y!!,Y"'!l__fl~~':..:}1/f!i._t(j_/'£~':!-?--- ________
--- ----- - --- - • Cf/?~'{____~-:!//(:_((_ __{'!Z_C__!__V!!_':!t.!) ~~!_ __ ~~2-~tf~.;f'__;~(l/\/!!_ _ ':({!__q!.!_ ______
______ __ ____}_ ,,~l_!_~C(i ?/7<__("0~/fZ/(c:_<.1.fl~_ - /2E_q~_!!!C!_~~f!___~£-___(?:_c-"_:i __ k .__Cl//f{(~.11[,C L pc1c)__
---------- ----- :-~4~ - ~~ ?.~-~-~e;; -#~~ ~: __ - --=--- -- ~,                                                                                                                                                                     ---- - -- ---
----- _fl!_.__ _t'- ('. _!-!__/(C'(!!_'!___ / 14 .[__~(So~l) t/A ~c_€_!2__u/ t.//C~ !//\/'£_ //-//f T _ .£ /!/? vc-_                                                                                                                                  ______
                                      71/C(A?.. ~6"r?~v/t::J-· /P /- ~/'?</\./'To ~cF'?~l?Y /-J /-/c;.r/ C1/./1l.t~6/f 1.,._lr;;Azr
                          ---    " tJ
                                   ·.   -·-·- ... -
                                       ~·           - ··-- ·-- . ----
                                                      .            ..             .. ---   -  - ---   - -- - -- - ·-  - - ----- - - - ----                    ..                  .                                                                                  ~



                                 LJ"//€/- /Vq "!Jo·~1:__!_~6ll:f~OC._£_ ~f:! _/'?_~~E(t_(/\~C~C~V!L Ju/TJ:__''..l/v __
                                _ _??fc:__~~-?~tf~_~ _ Cq_':{__£_!J~--- ~ /(/l/V6 NC7b~1---.4 T /7'~2L ~~?'fi__i(t;_ ~?Cl/.J~0._ _ 71!___ _
_ _ _            _ -~-~ILC::-_ /?7'~ Jt./CC6"J-;-~~ L/flVt/J'w/7f. J- ~,,.,~ .t?.Y_~Co/'o/J-:r'/£,/fcy//GZ~ co__:
--------         -- 'Ac TJ~ {//\/ L/f'w;::4'l.t;;t JTl/Ck_ tv/V y q,;> //c/f~ dZ //--//.) /?4CtJ/- ?~ //O/'/.
          __ 8-Z ~-//~~¢- __-£<< _(ef) .Yc/F(!::~ !¢__~/V/A/,,;~r£ />JyE-v/7--e_c:;· rL!('~_;; r,?~~
---------- -. - - - ·--/-/c-- :-N'
                               ----c-cFa/(_
                                      . --· -- - 17/       - - - --o>~
                                                  . _/; -·w/LL            To---
                                                                    - - ---- J/-/1rt16    A - L/611;--
                                                                                   --· - ---             ClN 111e·''T'ftf/ltVN7''
                                                                                                ·- - .:-------- ·=------- -·- -- --- :.'-- ·- ------- -
---- - - -                 -- f1~V4L6NT /-IC/Cc fa/ /'VO/Z_T// ,,Ct._cuz/£J/7 ~1.ro-:<~7?..t_:'!Y-L'-I~~-~ .f'Y__!l(f____ _
                                ~(_~4/\IW/-/lt.[ 11/c:- rloA,/,~A ~Al~ J l-/<?Wl.() J/ft'l/C /ft:. r/ " /(, C. l-l-"'?C'/1J/1/                                                            1



-(15) -- --                 - -,. /:-i;~--,;;;~;.~/(~~,;;;-·77/;w:V /-/i/z;:/d. - i~ ->/[/?- c-6~:rc_- 1-cn~ .r                                                                                                                              -L1Es) -
- - - - - - - - - - - - - - r - - - - - - - - ------------------------------- ------/-- - - - - - - - - - - - - - - - - - - - - - - -                                                                                                                 ______ :!.__
         (.tj"V.1"14/'J,;/Wfl;J..}   .;:fl';fJ..;tJ   ()7.lvn-'-75)                        ('11,/                                                     I
                                 ~ 'C- ~ '..ff'10lfJ!/ .f".L/ .Y>IVft. ..lJ'/'>W ~Vg                                                V<t/fP7_:( .:l/tt
 (JN!?/ '3J/VVJ2/eij0'--..J/7//V .Jd,(;J;p-y _;/t? _j;;#?J.//
                                                        ·.z /i'/--// 3-1tYy1..11 7                                                   ~                1J (-L'(/'10.}
  ·r;p73J'/V/7//_.) .;/o             .f/~9&..!/V/Dc/c/Y ..f.¥_)),;JJ ~7/h./..i.7.9t7J':92/                      C/5'/·d//J /..L Ye/                   IJ   /;/l.
        oo/                               C/
                O.:lJ1.:7sJ,, Y~/V!?l..f/J~/ ?/f7..:/ 77?J/VAO::> ...!F/oc:/dV °..£                                /'vl.J/JtJw,, (;{                        :sa
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                  Case 3:18-cv-00155-MCR-MJF Document 77-5 Filed 03/09/20 Page 21 of 27
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      Case 3:18-cv-00155-MCR-MJF Document 77-5 Filed 03/09/20 Page 22 of 27

                                                                              OFFICE OF THE ATTORNEY GENERAL
                                                                              Corrections Litigation Bureau

                                                                              KATHLEENC. HAGAN
                                                                              Assistant Attorney General

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    PAM BONDI                                                                 Tallahassee, FL 32399-1050
ATTORNEY GENERAL                                                              Phone (850) 414-3300       Fax (850) 488-4872
 STATE OF FLORIDA                                                             http://www. myfl oridalegal. com


                                                  August 3, 2015
                                                                                                                            II   I/


      Gerrard D. Jones, DC# 503034
                                                                                   c Cf.ffi,Ot.rJI r[ Ex Ii l:fIT II
      Santa Rosa Correctional Institution Annex                    .J,:       (     '/   PACI.~ f/vClw/Jt,46- 7ilt5             )
      5850 East Milton Rd.                                         "'r-:- (        f.!//l. I 6'11r A JVV Wl u 1t111¥?r C/ll.f s.1 )
      Milton, Florida 32583-7914

      Re:      Gerrard D. Jones, DC# 503034 v. Department of Corrections
               Case No.: 2015-CA-1304

      Dear Mr. Jones:

                This is a letter to inform you, if you have not already become aware, that the First
      District Court of Appeal has issued a written opinion in Williams v. Tucker, 87 So. 3d
      1270 (Fla. 1st DCA 2012) expressly adopting the rationale in Sandin v. Connor, 515 U.S.
      4 78 (1995) and" holding' that"a prisoner subjected only to disciplinary fonfi_q~m.~mt flncl_
      forfeiting no gain time lacks the re uisite liberty interest necess::g:y_1Q__@allengs:_ ~ -­
      disciplinary report. The opinion supplements the First District Court of Appeal's
      previous opinion in Wright v. McDonough, 958 So.2d 1132 (Fla. 1st DCA 2007), which
      cited Sandin for the proposition thaf inmates have no liberty interest i~ the_abP!!Y to earn.
                                              1


      gain".!_i_Qte: Furthermore,';the Department of Corrections has be~n II!__aking _~!J._is argument
      for quite some time now}fand the Second Judicial Circuit in and for Leon County has
      a<lopted -th~s-~a110-~a1e-asftperta1~510-P-etit1ons -cfiaYk;;-g1n-g_p;;sc;;;-·a1s<::1rr;~arr.~~10~~.Jt·
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               I am writing to give you the opportunity to voluntarily dismiss this case so as to
      conserve the resources of both the Court and the Department~'If you do not voluntarily
      dismiss this c:_ase, and__!!._lstead decide to was!_e~_~_St~t(~E!!!.~9:1!P..~~~°-l!~C~~-wi!P._ ~-£~sc;:
      t~~_i_s wi_thout merit under controlling precedent, then the_Dep~!_t_I?_~P! _~~p_~~-e~. ~-at1cy_i~l}S
      against you.'f These sanctions will include, but are not limited to, asking that the Court
      Issue an order finding your petition frivolous and directing the Office of the Clerk of
      Court to forward the order to the Department of Corrections for consideration of
      sanctions, pursuant to section 944.279 (1), Florida Statutes (2014). This means that you
      could receive a DR for violating the Rules of Prohibited Conduct Rule 33-601.314 (9-
      32), F.A.C., bringing a frivolous suit.

      Sincerely,




      Encl: Opinions from Williams v. Tucker and Wright v. McDonough

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   Case 3:18-cv-00155-MCR-MJF Document 77-5 Filed 03/09/20 Page 23 of 27

  we·stlaw.
                                                                                                                  Page I

 958 So.2d 1132, 32 Fla. L. Weekly DI 580
                                                                A-1
 (Cite as: 958 So.2d 1132)




 c                                                            250 Mandamus
                                                                 250III Jurisdiction, Proceedings, and Relief
                                                                    250kl 90 k. Costs. Most Cited Cases
           District Court of Appeal of Florida,
                      First District.
              Garrett WRIGHT, Petitioner,                          Circuit Court departed from the essential re-
                             v.                               quirements of the law by placing a lien on mandamus
     James R. McDONOUGH, Secretary, Florida De-               petitioner's inmate trust account to pay for court costs
          partment of Corrections, Respondent.                incurred by filing the mandamus petition, warranting
                                                              grant of inmate's petition for writ of certiorari chal-
                     No. i D06-5778.                          lenging the imposition of the lien n..'1d t.ie quashing of
                                                              the lien; inmate's challenge had the potential of af-
                      June 27, 2007.
                                                              fecting the time he would spend in prison.
Background: Inmate filed petition for writ of man-
damus in the Circuit Court challenging prison disci-          "'1133 Garrett Wright, prose, Petitioner.
plinary proceeding which adversely affected his abil-
ity to earn gain-time. The Circuit Court denied petition      Bill McCollum, Attorney General, and Linda Horton
and imposed lien on inmate's trust account to recover         Dodson, Assistant Attorney General, Tallahassee, for
appellate filing costs. Inmate filed petition for writ of     Respondent.
certiorari in the District Court of Appeal.
                                                              PERCURIAM.
Holdings: The District Court of Appeal held that:                  ill In this petition for writ of certiorari, Petitioner
ill petition for writ of certiorari challenging the denial   challenges the circuit court's denial of his petition for
of inmate's petition for writ of mandamus was                writ of mandamus, and the imposition of a lien placed
properly denied, but                                         on his inmate trust account. The petition for writ of
ill Circuit Court departed from the essential re-            mandamus challenged a disciplinary proceeding,
quirements of the law by placing a lien on mandamus          which adversely affected Petitioner's ability to earn
petitioner's inmate trust account.                           gain-time. Based on our review of the record, we
                                                             conclude that the circuit court properly denied the
      Petition denied in part and granted in pait.           petition for writ of mandamus. See Sandin v. Conner.
                                                             515 U.S. 472, 484, 115 S.Ct. 2293. 132 L.Ed.2d 418
                                                             (1995); Wolfl"v. McDonnell. 418 U.S. 539, 94 S.Ct.
                     West Headnotes                          2963. 41 L.Ed.2d 935 (1974). Consequently, the peti-
                                                             tion for writ of certiorari challenging the denial of the
ill Mandamus 250 €;::;;::;>188                               petition for writ of mandamus is DENIED.

250 Mandamus                                                      ill However, Petitioner's mandamus petition
   250III Jurisdiction, Proceedings, and Relief              challenged the loss of his ability to earn gain-time.
      250kl88 k. Certiorari to Review Proceedings.           Because his challenge had the potential of affecting
Most Cited Cases                                             the time he will spend in prison, the circuit court de-
                                                             parted from the essential requirements of law by
     Inmate's petition for writ of certiorari challenging    placing a lien on his inmate trust account to pay for
the denial of his petition for writ of mandamus was          court costs incurred by filing the mandamus petition.
properly denied, where petition challenged a prison          Schmidt v. Crusoe, 878 So.2d 361 (Fla.2003); Y asir v.
disciplinary proceeding.                                     McDonough, 31 Fla. L. Weekly D1459, --- So.2d ----,
                                                             2006 WL 1419271 (Fla. !st DCA May 25, 2006). The
ill Mandamus 250 €=190                                       petition for writ of certiorari challenging the imposi-




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  Case 3:18-cv-00155-MCR-MJF Document 77-5 Filed 03/09/20 Page 24 of 27
                                                                                    Page2


958 So.2d 1132, 32 Fla. L. Weekly Dl580                       //-2
(Cite as: 958 So.2d 1132)

tion of a lien on Petitioner's inmate account is
GRANTED, and the order imposing the lien is
QUASHED.

DAVIS and POLSTON, JJ., and LAWREN CE, Jr., L.
ARTHUR, Senior Judge, concur.

Fla.App. 1 Dist.,2007.
Wright v. McDonough
958 So.2d 1132, 32 Fla. L. Weekly Dl580

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    Case 3:18-cv-00155-MCR-MJF Document 77-5 Filed 03/09/20 Page 25 of 27
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                                                           4-J                                       Page 1

87 So.3d 1270, 37 Fla. L. Weekly Dl245
(Cite as: 87 So.3d 1270)



c                                                           DAVIS, WETHERELL, and SWANSON, JJ., con-
                                                            cur.
          District Court of Appeal of Florida,
                     First District.                        Fla.App. 1 Dist.,2012.
            Gary WILLIAMS, Petitioner,                      Williams v. Tucker
                           v.                               87 So.3d 1270, 37 Fla. L. Weekly 01245
 Kenneth S. TUCKER, Secretary, Florida Department
             of Corrections, Respondent.                    END OF DOCUMENT

                   No. lDl0-3257.
                    May 24, 2012.

Petition fo r Writ of Certiorari.
Gary Williams, pro se, Petitioner.

*1271 Pamela Jo Bondi, Attorney General, and C.
Ian Garland, Ass istant Attorney General, Tallahassee,
for Respondent.

 PERCURIAM.
     Gary Williams, an inmate serving a parole-
eligible life sentence, appeals the denial of his peti-
tion for mandamus challenging a disciplinary report
that resulted in him being placed in disciplinary con-
 finement for 60 days. We treat the appeal as a peti-
tion invoking our certiorari jurisdiction, FN* and deny
the petition on the merits because the trial court did
not depart from the essential requirements of law in
determining that Williams failed to demonstrate any
liberty interest implicating the protections of the Due
Process Clause. See Sandin v. Conner, 515 U.S. 472 ,
486- 87, 11 5 S.Ct. 2293, 132 L.Ed.2d 418 (1995)
(holding that 30- day disc iplinary confinement "did
not present the type of atypical, significant depriva-
tion in which a State might conceivably create a lib-
erty interest," and further stating that "[t]he chance
that a finding of misconduct wi ll alter the balance [in
consideration of parole] is simply too attenuated to
invoke the procedural guarantees of the Due Process
Clause").

         FN * Sheley v. Fla. Parole Comm 'n. 703
         So.2d 1202 (Fla. I st DCA 1997), approved ·
         by 720 So. 2d 2 16 (Fla.1998).

    DENIED.




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     33 F.A.C. 33-404.108, Discipline and Confi nement of Mentally Disordered Inmates.                                    Page I      33 F.A.C. 33-404. 108, Discipline and Confinement of Mentally Disordered lrunates.                                 Page 2

     *16282 Rule33-404.108, F.A.C.                                      individualized services plan. Doc umen tation of all          the indiv idualized service plan shall be referred to             trans itional care unit, or a corrections mental
                                                                        suc h incidents shall also be considered as part of           the warden for resoluti on . The warden is                        health treatment fac ili ty. Protective management
                       WEST'S FLORIDA                                   the ongoing assessment of risk for vio lence by the           a1.: ~1o ri zed to contact the regional menta1 hea lth            status or requests shall be evalua ted w ith written
                   ADMINISTRATIVE CODE                                  ri sk assessment team as described in subsection              consultant and director of me ntal health serv ices               or verbal input from the c li nica l staff, in
                ·TITLE 33. DEPARTMENT OF                                (4) of thi s rule.                                            Of. . hi¥ h er designee in central office for                     accordance with Rule 33-602.220 and Rule
                  .,    CORRECTIONS                                                                                                   iecomifu; ndarions when needed .                                  33-602.22 l , F.A.C., as applicab le.
                  CltAPTER 33-404. MENTAL                                  *16283 (3) When inmates are adm ined to
                                                                                                                                                                                                       Adopted May 27. 1997: Amended 111/y 9. 1998: Tra11Sferred
                                                                        transitional care, crisis stabilization care, or a               (6) !\p..in'J!lat~ transferred to an inpatient setting        from 33· 40.008. Ame11dedJ11ly 9. 1012.
                     .lfEALTH SERVICES
                                                                        correc tions mental health ·treattnent faci li ty, any
                                                                                                                                      from prO'~C.ti_yC management may still need                       Authority: 944.09. 945.49 FS. Law Implemented 944.09.
                                                                        prior confinement or close management status
               Currell! w_i~)r'qffl·e~mems available through                                                                          protec ti on whik"'•, in a crisis stab ilization,                 945.49 FS.
                                                                        shall be suspended until the inmate is discharged
    _                     . D~-~?be~ 19. 201 4.                         from the speci alized care setting. Security

/    33-404. 108. Disc ipl"i°il~ iutd Confinement of
          ~e ntally Di siird_et~d'J nmates.
                                                                        res trai nts shall be app lied when inmates adm ined
                                                                        to transitional care, crisis stabilization care, or a
                                                                        corrections menta l health facility from maximum
                                                                        manageme nt or close management status I and H
             Inmates with a diagnosed ·f'.nental illness shall be       are out of their ce ll s or other secure areas such as
     subject to the provisions of Rui c$- 33-60I.JO 1-                  exercise yards, shower areas or holding ce ll s.             ,r ·~
     J 14, F.A.C., Inmate b1sc1phne, exC¢pl .as nmedrri
    :.n_1e followrng sections.               :.~                              (4) Within 72 hours of an inmate's admi ssion to
                                                                          transitional care, crisis stabilization care, or a                      ........
        ( l ) Meneal health staff are authorized ~o''Pr~V!de              correc tions mental health treatment facility, an               ~           §;
     ~ritten or verbal mput to the d1 sc 1phn~· tCal~l:                   assessment of risk for violence shall be completed               ~          ~
     before disc iplin31)' action is taken agamst ·any                    by a risk assessment team. The risk assessment                 Q! ~
     i ~ate who has a diagnosed mental illness menta!                     team shal l consist of a p sychologist or psychiatri st         '-....._ ~
     retardation or who is P.!!!~[\..l/ise cognitively                .,- a nd a staff member from security and
                                                                          Cl~ss ificati on. Thi s risk assessment shall be the
                                                                                                                                          " ""
                                                                                                                                            c
     j~ 1he input shall be provided b~ either a                                                                                                                                                                                                                    ~
                                                                          b'~~i·s fo r recomme ndation s for restriction s on the       ~ -~
                                                                                                                                                                                                                                                                   ~
        osychologist or Q~~_hia.!-ri~nd _sh~!' btli~it~Q
        ~iQ!L _g[""'"'~~_,Jqk. if.._af!x,_ .thac __ in~naj                .iili~.ale'.s movement, housing program participation         ~' -\)
        ~~e~~~-~~~-P~~~- in__th~~!!?~ i..9!.J.!l                          iL1~·;. cli~~;cal activities while the inmate is in an        'V "'"'
                                                                                                                                        ~~
        ~-          Written input by either a psyc hologist or
        psyc hiatri st shall be provided for inmates who are
                                                                           inpati.etlt Unit. The assess ment of ri sk for viole nt
                                                                          behaviOEo..Sllall .include a review of the health and        ~ "h·                                                                                                                       ~
        pati ents in isolation management, transitional care,              institutitl]lal.:f~c,qrd, the inmate's adj ustmen1 to       ~(Q!')
        cris is stabilization care, or in a corrections mental
        health treatment fac ility. The input shall be limited
        to whe ther the pati ent's mental illness, mental
        reta rdation or cognitive impairment may have
        conttibuted to the alleged discip linary oftense and ,
                                                                           incarcera.tl'O~;·::~~~: the inmate's disc ip linary or
                                                                           corifinemen'l s~~foS ~t the time of the referral fo r
                                                                           inpatient tre8tniCtjt. _.i· Restrictions shall be
                                                                           determined based q!J-~s taff and inmate safety, and
                                                                           institut ional securi t}', and· shall be documented in
                                                                                                                                           ·--
                                                                                                                                           l....'-'
                                                                                                                                          ~: :i
                                                                                                                                            ~--
                                                                                                                                           ........

                                                                                                                                        ~
        if so, a recommendation for disposition or sanction                the hea lth record .
        options or alternative actions.
                                                                            (5) The risk assess mencshall be..rev iewed by a
             (2) The results of tl1e clinica l as sessment shall         risk assessmen t team within 14. .;ofk ing days o f
        be       communicated        to    classification
        doc umented in the health record by a psychologist
        or psyc hiatrist. The di sciplinary team shall
                                                               and       the initial ri sk assess me nt anci"~ t lciist .~very 90
                                                                         days thereafter, to detennine the ap·p ~?iiateness
                                                                         of res tric tions on ho using, m ow;ii1 en ~"' and
                                                                                                                                     '-._,
        determine the appropriate di sc ipline, includin g               activiti es. Modifications shall be docurneflted i~
        confinemenc,     in   accordance     with   Rules                the inmace's health reco rd. Disagreement aptciOg :
        33-601.30 1-.3 14, F.A.C. Any such confinement                   the risk assess ment team rela ted to the level Or rl.~k
        shall be perfonned within the inpatient setting, in              prese nced by the inmate, or the detenninatio~ 'or
        accord with unit operating procedures and the                    r estrictions to be recommended for inclusion in

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869 F.2d 1467, Wildberger v. Bracknell, (C.A.11(Ala.)1989)                                                                                           869 F.2d 1467, Wildberger v. Bracknell, (C.A.11 (Ala.) 1989)

                                                                    78kl 395(7) Prisons and Jails;                                                   for swnmary judgment. The magistrate concluded that               1155 (I Ith Cir.1985). The district court erred in
                  * 1467 869 F.2d 1467
                                                                                                                                                     the violation of the grievance procedure did not rise to          dismissing the retaliation claim for failure to
                                                              Parole.
                                                                                                                                                     the level of a constitutional violation, since there was          claim for which reli ef can be granted.
            United States Court of Appeals,
                   Eleventh Circuit.                                (Fonnerly 78k235(7), 78kl 3.12(6))                                               no entitl ement to a grievance procedure under the
                                                                                                                                                     Federal Constitution.       *1468. The recommendation




                                                           ~
       /Leon WILDBERGER, Plaintiff-                              A1 legation by prisoner that he w;                                                  also held that since there was no right to a grievance
                                                                                                                                                     procedure under the Constitution, a claim of ret aliation       said:
                       Appellant,                              ecause he had filed several grieva. nces
                                                               n all egat ion of punishment for                                                       for filing a grievance also did not state a constitutional
                           '"
         Sgt. David BRACKNELL, Lt. Robert                     Amendment right to freedom of                                                          claim. As to the claim for the personal assault , the
          Simmons, Steve Hicks, CO JI, ct al.,                 etition the government fo r a                                                          magistrate found that the suit was properly dismissed,
                Defendants-Appellees.                           ren if inmate had no cor                                                              since Moore had not been made a defendant and had
                                                               rievance procedure. U.S.C.A. Const                                                     received no notice of the lawsuit. The magistrate's
                       No. 88-7373                                                                                                                    recommendation found that , although the claim of lack
                                                                                                   Alabama Dept. of                                   of a fa ir and impartial disciplinary commi ttee
                 Non-Argument Calendar.                                                             on, Montgomery,                                   implicated federal constituti onal rights, the minimum
                     April 14, 1989.                                                                                                                  requirements of due process were met under the
                                                                                                                                                      standard stated in Wolffv. McDonnell. 418 U.S. 539.
    Prison inmate· brought action challenging grievance                                                                                               94 S.Ct. 2963, 41 L.Ed.2d 935 (1974).
                                                                                                                                                                                                                     Id. at 1157.
proceeding and segregated confinement. The United
States District Court for the Northern District of                                                                                                       We conclude that the trial court erred in one respect
                                                                                                                                                                                                                                           if appell ant is able to establi sh
Alabama. No. CV87-AR- l 125, William M. Acker, Jr. ,                                                      Judges. and                                 in granting the motion for summary judgment.
                                                                                                                                                                                                                                       was the result of his having fi led a
J. , granted surrunary judgment in favor of defendants,                                                                                                                                                                                ming the conditi ons          of his
and inmate appealed. The Court of Appeals held that                                                                                                   Claim of Retaliation.                                                          he will have raised a constituti onal
inmate's a llegati on that he had been disciplined as a
result of filing several rievances asserted a claim for
purus ent due to exercise of First Amendment rig,!!!                        appeal from the dismissal by the trial court    ::.\.J                       [1][2] As stated above, Wildberger averred that hi s
                                                                                                                                                      constitutional rights had been violated since, as he
                                                                                                                                                                                                                                         CONCLUS ION
of .. freedom of speech and right to petition th                        ant's 42 U.S.C. § 1983 action against Alabama                                 all eged, he had been disciplined because he had fil e
government for redress of grievances.                          Department of Corrections officials, Sgt. Bracknell, Lt.        ~                      several grievances in the past. He claims this is
                                                                immons, Associate Warden DeLoach and correctional
                                                                                                                               .......                case of an irunate being punished for exerci ·
                                                                                                                                                                                                         <
                                                                                                                                                                                                                        Accordingly, we must REVERSE the lrial court's
                                                                                                                                                                                                                        dgment dismissing the complaint and REMAND for
   Reversed and remanded.                                       fficcrs Hicks and Twyman.                                      ~'.>                   First Amendment right to "freedom of speech                     further consideration.
                                                                                                                                ..........            right "to petition the government for a r
                      West Headnotes                              Appellant's principal contentions were that he had
                                                                                                                               :::t;-                 grievances." (FN I)                                             (FNI.) Amendment I of the United States Constituti on      ~
                                                               been denied a federal const itutional right , because the
                                                                                                                               ~
                                                                                                                                                                                               41•
                                                                                                                                                                                              of 1:~ dealing
                                                                                                                                                                                                                        provides:                                                ·::t"
                                                                                                                                                                                                                                                                                 ~
 [I]                                                           defendants violated the grievance procedures                                             Th is Court has decided a number

                                                                                                                              ~
                                                               establi shed by the State Department of Corrections,                                   with quite similar constitutional ~f.iglu v.                      Congress shall make no law respect ing an
        92----                                                 and because he had been disciplined by being placed in                                 Newsome. 795 F.2d 964 ( I Ith Gir. 1986!. we S.id:                establishment of religion, or prohibit ing the free
                                                               segregat ion in retaliati on for hi s having filed several                                                                                               exercise thereof;    or abridging th e freedom of
                                                               grievances under the state's grievance procedures. He                                           Wright also sufficiently all                             speech, or of the press; or of the right of the people
                                                               also all eged that he had been personally assaulted by                                    actions that rnight not ~envise be 7ifren sive to the          peaceably to assemble , and to petiti on the
                                                               one Lt. Moore, whom he did not name as a defendant.                                       Constitution ... within the~ of the Constituti on              Government for a redress of gri evances.
                                                               In add ition, the complaint challenged the fairness and                                   by alleging that t~·     · · ~ taken in retaliation
                                                               impartiality of the disciplinary corrunittee that had                                     for filin g Ja~~ts        . administrative grievances.          The provisions of this Amendment were, of course,
                                                               acted on his grievance. Hi s charge in this respect is                                    This type J~ation:~ :iolates both the inmate's                  incorporated within the provisions of the Fourteenth
                                                               pri ncipally due to the fact that two members of the                                      right                                                           Amendment to become applicab le to the states. See.
                                     Amendment were            grievance committee were in supetvisory positions                                         F.2d                                                            e.g., Wallace v. Jaffree, 472 U.S. 38, 48-49, 105
                            rovisions of the Fourteenth        over the persons charged with responsibility for the                                                                                                      S.ct. 24 79 , 2485-86, 86 L.Ed.2d 29 (1985).
                         me applicable to the states.          all eged illegal conduct; plaintiff a lso claimed that the
                     mends. I , 14.                            chairman of the committee unfairly denied plaintiffs
                                                                request to call two additional witnesses at the
                                                                disciplinary hearing, which restricted his ability to
                                                                establish his innocence.

            78111 Federal Remedies in General                     The trial      court adopted      the report and
         78kl 392 Pleading                                      recommendation of the magistrate, holding that the
         78kl3 95 Particular Causes of Action                   petition should be dismissed on the defendants' motion

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